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                           EXHIBIT C
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     DEPOSITION OF: CHRISTY LENHARDT                            February 1, 2022


                                                                           Page 1
1             IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ILLINOIS
2                      EASTERN DIVISION
3
4      MARK OWENS,                   )
                                     )
5                    Plaintiff,      )
                                     )
6      vs.                           ) No. 18-cv-334
                                     )
7      HASINA JAVED,                 )
                                     )
8                    Defendant.      )
       ******************************)
9      BENAHDAM HURT,                )
                                     )
10                   Plaintiff,      )
                                     )
11     vs.                           )
                                     )
12     HASINA JAVED, et al.,         )
                                     )
13                   Defendants.     )
14
15                      The deposition of CHRISTY LENHARDT
16     called by the Defendants for examination, taken
17     pursuant to the Federal Rules of Civil Procedure
18     for the United States District Courts pertaining
19     to the taking of depositions, taken before Gay
20     Dall, CSR and RPR, via Zoom on the 1st day of
21     February, 2022, at 9:15 a.m.
22
23
24

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                                                                           Page 2
1                     A P P E A R A N C E S:
2
3      KRETCHMAR & CECALA
4      18 South Northwest Highway
5      Suite 200
6      Park Ridge, Illinois 60068
7      (312)235-6752
8      BY:   Mr. Joseph John Cecala
             jcecala@expansionfunding.com
9
10     and
11     STUART RANDOLPH KRETCHMAR
12     Attorney at Law
13     Wilmette, Illinois 60091
14     (847)853-8106
15     BY:   Mr. Stuart Randolph Kretchmar
             srandolphk@gmail.com
16
             on behalf of Benahdam Hurt
17           and Mark Owens;
18
19
20
21
22
23
24


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                                                                           Page 3
1      APPEARANCES: (Continued)
2      OFFICE OF THE ILLINOIS ATTORNEY GENERAL
3      General Law Bureau
4      100 West Randolph Street
5      13th Floor
6      Chicago, Illinois 60601
7      (312)814-4417
8      BY:   Ms. Mary A. Johnston
             Assistant Attorney General
9            mary.johnston@ilag.gov
10           Appeared on behalf of Hasina Javed
             (Owens) and Hasina Javed, Faiza Kareemi,
11           Colleen Delaney, Diana Hogan (Hurt);
12
13     OFFICE OF THE ILLINOIS ATTORNEY GENERAL
14     General Law Bureau
15     100 West Randolph Street
16     13th Floor
17     Chicago, Illinois 60601
18     (312)814-6534
19     BY:   Ms. Amanda Kozar
             Assistant Attorney General
20           amanda.kozar@ilag.gov
21           Appeared on behalf of Drew Beck (Hurt);
22
23
24


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                                                                           Page 4
1      APPEARANCES: (Continued)
2      OFFICE OF THE ILLINOIS ATTORNEY GENERAL
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8      BY:   Ms. Sarah H. Newman
             Civil Rights Unit Supervisor
9            sarah.newman@ilag.gov
10           Appeared on behalf of Hasina Javed, Faiza
             Kareemi, Colleen Delaney and Diana Hogan
11           (Hurt);
12
13     STEVEN J. BRODY & ASSOCIATES
14     1095 Pingree Road
15     Suite 213
16     Crystal Lake, Illinois 60014
17     (815)374-7783
18     BY:   Mr. Steven J. Brody
             sjbrodylaw.com
19           on behalf of the witness, Christy Lenhardt;
20
       ALSO PRESENT:
21
             Mr. Rory Cannon, Illinois Department of
22           Health and
23           Mr. Sean Gunderson.
24


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                                                                           Page 6
1                 (The witness was duly sworn.)
2                          CHRISTY LENHARDT,
3        being first duly sworn to testify to the
4        truth and nothing but the truth, was examined
5        and testified as follows:
6                        DIRECT EXAMINATION
7        BY MS. JOHNSTON:
8                 Q.     First of all, Mr. Lenhardt, can you
9        please state and spell your name on the record.
10                A.     Christy Lenhardt, C-H-R-I-S-T-Y,
11       L-E-N-H-A-R-D-T.
12                       MS. JOHNSTON:        And if we want to,
13       everybody can hit their cameras off, if they're
14       so inclined.       Shall we get everybody else's
15       appearances on the record quickly.
16                       MR. BRODY:       Steven Brody, attorney
17       for Christy Lenhardt.
18                       MR. CECALA:       Joseph Cecala,
19       C-E-C-A-L-A, attorney for Mark Owens and Ben
20       Hurt.
21                       MR. KRETCHMAR:        S. Randolph
22       Kretchmar.      That's first initial S, as in
23       Stuart, R-A-N-D-O-L-P-H, K-R-E-T-C-H-M-A-R,
24       also attorney for Ben Hurt and Mark Owens.


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                                                                           Page 7
1                        MS. JOHNSTON:        Mary Johnston,
2        J-O-H-N-S-T-O-N, attorney for defendants,
3        Javed, Kareemi, Delaney and Hogan in the Hurt
4        matter, and attorney for defendant Javed in the
5        Owens case.
6                        MS. KOZAR:       Amanda Kozar, attorney
7        for the defendant, Drew Beck, in the Hurt case.
8                        MS. NEWMAN:       Sarah Newman attorney
9        for defendants, Javed, Kareemi, Hogan and
10       Delaney in the Hurt case.
11                       And before we all mute, if I could
12       ask, could we please don't forget to swear in
13       the witness.
14                       THE STENOGRAPHER:         I swore her in
15       already.
16                       MS. NEWMAN:       I didn't hear that
17       part.    Sorry.
18                       MS. JOHNSTON:        And then Rory and
19       Sean, did you want to put your appearances on.
20                       MR. CANNON:       Sure.     Rory Cannon,
21       assistant general counsel, Illinois Department
22       of Human Services.
23                       MR. CECALA:       Sean, you can just
24       give her your information as our paralegal.


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                                                                           Page 8
1                        MR. GUNDERSN:        Yes.    Sean
2        Gunderson, paralegal for Kretchmar and Cecala
3        Law Firm.
4        BY MS. JOHNSTON:
5                 Q.     Okay.     We're going to go ahead and
6        get started, but before I get into any
7        questions, I'm just going to go over a couple
8        of ground rules with you, Ms. Lenhardt.
9                        Have you ever been deposed before?
10                A.     No.
11                Q.     Okay.     So these are just a couple
12       of ground rules to make it a little bit easier
13       so that we can get a clean record.
14                       As you can see, Gay here is a court
15       reporter, so we need her to be able to take
16       down everything we're saying accurately.
17                       So the first is to make sure that
18       you use verbal answers.           So yeses and nos, as
19       opposed to uh-huhs, huh-huhs or you know,
20       nodding and shaking of the head.
21                       Then please wait for myself or
22       whoever is asking the questions to fully finish
23       their question before you start answering.                  And
24       I will do the same, and let you fully finish


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                                                                          Page 9
1        your answer before I move on to the next
2        question.      That just helps avoid having any
3        issues with the record once we get the
4        transcript back.
5                        We can take breaks, if you need to,
6        but I do ask that if you need to take a break
7        for any reason, if I've asked a question, just
8        make sure you answer that question before we
9        take the break.
10                       And if you don't understand one of
11       the questions that I ask, tell me.               If you
12       answer a question, we are going to assume that
13       you understood what was being asked, and that
14       you answered as you intended to.              So if you're
15       unsure about something, let me know, and I will
16       rephrase it to make sure that you know what I'm
17       asking.
18                       Do you understand that right now
19       you are under oath and required to tell the
20       truth?
21                 A.    Yes.
22                 Q.    Okay.    And I ask this of everybody,
23       but is there any reason that you cannot testify
24       truthfully today?


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                                                                         Page 10
1                  A.     No.
2                  Q.     You're not on any medications that
3        would impact your ability to tell the truth?
4                  A.     No.
5                  Q.     Or any medications that would
6        impact your ability to remember, you know, the
7        recent past?
8                  A.     No.
9                  Q.     Okay.
10                        MR. CECALA:     One other ground rule,
11       Christy.       If Steven or Randy or I make an
12       objection, just -- the court reporter can't
13       take down two people talking at the same time.
14                        THE WITNESS:      Okay.
15                        MR. CECALA:     You want to let the
16       person objecting finish.           Same as the question,
17       let everyone finish saying what they're saying
18       before you start your answer or get an
19       instruction from Steven or whatever the case
20       may be.        You just want to make sure that the
21       record -- the court reporter can't take down
22       two people talking at the same time.               So if
23       we're talking as well, and there's an
24       objection, just wait until they finish the


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                                                                         Page 11
1        objection, and then you give your answer.
2        Okay?
3                        THE WITNESS:       Okay.
4                        MS. NEWMAN:      And before we begin, I
5        just -- I have a question.            You said Sean
6        Gunderson is you paralegal.            Is this the same
7        Sean Gunderson that has at least one lawsuit
8        pending against various defendants at Elgin
9        Mental Health Center?
10                       MR. CECALA:      He does.
11                       MS. NEWMAN:      Does he have any
12       lawsuits pending against the defendants in this
13       case?
14                       MR. CECALA:      No.
15                       MS. NEWMAN:      We're just concerned
16       that that represents of a bit of a conflict for
17       him because he is a, you know --
18                       MS. JOHNSTON:       Yeah.
19                       MS. NEWMAN:      Yeah.     I'm afraid I do
20       kind of have to object to having him present
21       during the deposition, given his personal --
22                       MR. CECALA:      Noted.     He's been our
23       paralegal before his claim against the --
24       against other defendants.           So noted.


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                                                                          Page 12
1                        We believe Rory has a conflict of
2        interest as well.        But we went on the record
3        last time asserting that, you know, someone
4        who's not participating, but is listening --
5        and he's an employee.          So he is a valuable
6        paralegal in these cases to us.             And he has
7        been working on this case long before he had
8        his own suit against the other defendants.                 So
9        he's not here for some nefarious reasons.                 He's
10       here because he does paralegal work on this
11       case.
12                       MS. JOHNSTON:       The objection is
13       noted on the record, and we'll move forward
14       with the deposition.
15       BY MS. JOHNSTON:
16                Q.     And so, Ms. Lenhardt, sorry about
17       that.
18                       I'm going to just get a little bit
19       of a personal background from you.               First, what
20       is your date of birth?
21                A.
22                Q.     And where did you grow up?
23                A.     Melrose Park and Addison and Elk
24       Grove Village.


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                                                                         Page 13
1                 Q.     And what is the highest level of
2        education that you've completed?
3                 A.     Master's degree in social work.
4                 Q.     Okay.     Let's backtrack there.
5        Where did you go to college?
6                 A.     University of Illinois at Chicago.
7                 Q.     UIC?
8                 A.     Uh-huh.
9                        MR. BRODY:      You have to answer --
10       excuse me.      You have to answer yes or no
11       verbally and loud enough.           "Uh-huh" is
12       something that the court reporter can't take
13       down.
14                       THE WITNESS:       Oh, okay.
15                       MS. JOHNSTON:       It's a very common
16       thing to do, so don't feel bad if any of us
17       mention it again.         It takes a while to get used
18       to.
19       BY MS. JOHNSTON:
20                Q.     When did you graduate from UIC?
21                A.     1987.
22                Q.     What was your degree in?
23                A.     Social work.
24                Q.     And you stated you received a


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                                                                         Page 14
1        master's?
2                  A.    Yes.
3                  Q.    Where did you obtain that master's
4        degree?
5                  A.    University of Illinois at Chicago.
6                  Q.    And was that a master's in social
7        work?
8                  A.    Yes.
9                  Q.    When did you get that master's
10       degree?
11                 A.    In '87.
12                 Q.    At the same time you were doing
13       both programs kind of concurrently?
14                 A.    What do you mean "both programs"?
15                 Q.    Well, you said that you graduated
16       from UIC.      Was that undergrad that you
17       graduated in 1987?
18                 A.    That was my master's degree.
19                 Q.    Okay.     When did you graduate from
20       undergrad?
21                 A.    I'm sorry.      I didn't realize the
22       difference in the questions.            I graduated with
23       my undergraduate degree in 1986.
24                 Q.    So then you went straight into that


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                                                                         Page 15
1        master's in social work program?
2                 A.     Correct.
3                 Q.     And then did you become a social
4        worker in 1987?
5                 A.     Yes.
6                 Q.     And what was your first job as a
7        social worker?
8                 A.     I was a social worker at Allendale
9        in Waukegan.
10                Q.     Did you say Allendale, like, A-L --
11                A.     Allendale, uh-huh.
12                Q.     Okay.
13                       MR. BRODY:      You did it again with
14       the uh-huh.
15                       THE WITNESS:       Sorry.
16                       MR. BRODY:      That's all right.
17       Relax.    You're fine.
18       BY MS. JOHNSTON:
19                Q.     Allendale in Waukegan.           And when
20       did you start at Allendale?
21                A.     I need to look at my resume.
22       Sometime in 1987.
23                Q.     And how long were you there?
24                A.     I'm not sure these answers are


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                                                                         Page 16
1        going to be completely correct.             I didn't
2        expect these kind of questions to be answered.
3        I haven't reviewed my resume.             This is 30 --
4        20-something years ago.
5                 Q.     That's okay.
6                        Roughly, how long were you there?
7                 A.     A year and a half.
8                 Q.     And what did you -- what kind of
9        facility is Allendale?
10                A.     I worked in one of their group
11       homes for emotionally disturbed boys.
12                Q.     And after leaving Allendale roughly
13       sometime in 1989 or maybe 1990, again,
14       that's -- I understand this is a long time
15       ago -- where did you work next?
16                A.     Jane Addams School of Social Work.
17                Q.     And what did you do there?
18                A.     I was the social worker.           I did
19       therapy with the students who were emotionally
20       disturbed.
21                Q.     And, roughly, how long were you at
22       the Jane Addams School of Social Work?
23                A.     Two years; maybe, two and a half.
24                Q.     And after Jane Addams?


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                                                                         Page 17
1                 A.     I worked at -- I'm sorry.            I worked
2        at -- I can't remember.          It was on Irving Park
3        Road.    I wish you told me, I would have brought
4        my resume.      At the moment, I can't remember the
5        name.    We could go back.
6                 Q.     That's okay.
7                 A.     Oh, Streamwood.        Streamwood
8        Behavioral Health.
9                 Q.     And do you have a rough time frame
10       for how long you were at Streamwood?
11                A.     A couple of years, two or three
12       years.
13                Q.     And after Streamwood, where did you
14       work?
15                A.     I went into independent contract
16       work.    I worked with the Institute for Stress
17       Management.
18                Q.     Where is that located?
19                A.     They were -- they're no longer.
20       They were located in Hoffman Estates.
21                Q.     And do you have an estimate as to
22       how long you were doing that independent
23       contract work with them?
24                A.     It was during my pregnancy with my


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                                                                         Page 18
1        oldest son.      And he was born in -- was about
2        six months old.         So 1990 -- nineteen -- he was
3        born in February.         1994.
4                        MR. BRODY:      Speak up a little bit.
5                        THE WITNESS:       Okay.
6        BY MS. JOHNSTON:
7                 Q.     And after that, where did you work
8        next?
9                 A.     Lifecore.
10                Q.     Is that, again, as a social worker?
11                A.     Yes.
12                Q.     Okay.     What kind of business or
13       company is that?
14                A.     They worked -- Dr. Delosantos
15       (phonetically) had patients at various group
16       homes -- not group homes -- nursing homes, and
17       I went in and did mental statuses on the
18       patients and assigned them to groups and did
19       the groups.
20                Q.     And do you have an estimate as to
21       how long you were at Lifecore?
22                A.     I guess another two years.
23                Q.     And where did you go after you were
24       at Lifecore?


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                                                                         Page 19
1                 A.     Elgin Mental Health Center.
2                 Q.     Okay.    And do you remember when you
3        started at Elgin?
4                 A.     I used to -- I worked there 20
5        years and that ended in 2017.
6                 Q.     All right.      So probably somewhere
7        around 1997 or so?
8                 A.     Yeah.
9                 Q.     Okay.    And so you started at Elgin
10       in roughly 1997, and I understand that we're
11       giving that as an estimated date for right now.
12                       So when you started at Elgin, what
13       was your job title?
14                A.     Social worker on the civil side.
15                Q.     You say the "civil side," can you
16       explain what that means?
17                A.     Where patients from the community
18       are hospitalized, psychiatrically hospitalized.
19                Q.     And when you say "From the
20       community," is that different -- well, you
21       mentioned the civil side.           What is the other
22       side of Elgin?
23                A.     Forensics.
24                Q.     And is that where the patients who


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                                                                         Page 20
1        are required to be there --
2                  A.    Court ordered, yes.
3                  Q.    So the individuals on the civil
4        side, are those individuals who have
5        voluntarily entered the Elgin Mental Health
6        Center?
7                  A.    Some of them.       Some of them were on
8        petitions.
9                  Q.    Okay.    And do you remember what
10       unit that would have been called, or was it
11       called something completely different?
12                 A.    I'm nervous, so I can't remember
13       stuff.    Kate Lee.      Kate Lee.
14                 Q.    Kate Lee?
15                 A.    Yes.    Kate is a person.         Kate,
16       K-A-T-E, Lee, L-E-E.
17                 Q.    Okay.    And --
18                 A.    Then I switched over to one that
19       started with a W.        And the one that started
20       with a W, I cannot recall the name at this
21       moment.
22                 Q.    Was that unit with a W also on the
23       civil side?
24                 A.    Yes.


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                                                                         Page 21
1                 Q.     Okay.    And what were your
2        responsibilities while you were working at the
3        Kate Lee unit and the W unit?
4                 A.     Whittman.      Whittman.      That was the
5        name.    W-H-I-T-T-M-A-N, I believe.
6                        So my responsibilities were to
7        admit people.       I did the admission paperwork,
8        did their social assessments, wrote their
9        treatment plans, did their counseling,
10       attended, and -- I don't think I led them, but
11       attended their treatment plan meetings once a
12       month.    Discharged them.         Helped them develop a
13       relapse prevention.         I'm sorry.      Developed
14       their discharge plan for where they were going
15       to go live after their discharge, and where
16       they were going to get their treatment.
17                Q.     And what was the make up of -- the
18       demographic of the patients on these units;
19       meaning, was it co-ed, all men, all woman?
20                A.     It was co-ed.       One side was the
21       men, and one side had the women.              And one
22       hallway had the men and one hallway had the
23       women with, I think, a nurse's station in
24       between.


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                                                                         Page 22
1                        They were age 21 and over.            No.
2        18.     I think when they were 18, they could be
3        hospitalized there.
4                  Q.    Okay.    So you were at the -- call
5        it the -- whatever you said.
6                  A.    The Kate Lee.
7                  Q.    The Kate Lee and the Whittman units
8        on the civil side.         And it sounds like it
9        was -- a lot of the work that you were doing
10       there overlapping the same general stuff just
11       on two different units?
12                 A.    Yes, they were both exactly the
13       same.
14                 Q.    Okay.    And how long were you on the
15       civil side?
16                 A.    Eight years.
17                 Q.    And so that's putting us until
18       approximately 2005 give or take?
19                 A.    Yes.
20                 Q.    And where did you go then in 2005?
21                 A.    To the forensics side of the
22       hospital.      The forensic psychiatric units.
23                 Q.    And which unit were you first
24       assigned to on the forensic side?


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                                                                         Page 23
1                 A.     M.   They were all letters.           M,
2        like, Mary.
3                 Q.     Okay.    And what was the make up of
4        that unit?      Was it co-ed?       Is it all men, all
5        women?
6                 A.     Just all men.       Wait.     Yeah, all
7        men.    Sorry.
8                 Q.     And how long were you on the M
9        unit?
10                A.     Maybe four years.         Three.
11                Q.     Do you know why it is that you were
12       transferred from the civil side to the
13       psychiatric side?
14                A.     I asked for it.
15                Q.     Why did you request that transfer?
16                A.     I applied.      Sorry.     Because the pay
17       was higher on the forensic side, and I was
18       interested in changing my work up.
19                Q.     You said changing your work up,
20       meaning just kind of switching what it --
21                A.     Yeah.
22                Q.     -- was you were doing?
23                A.     Yeah.
24                Q.     Okay.    So you were on the M Unit


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                                                                          Page 24
1        for about four years until, roughly, 2009.                 And
2        where did you go after being on the M Unit?
3                 A.     To the L Unit.
4                 Q.     Okay.    And do you know why you were
5        transferred from M to L?
6                 A.     They were concerned about my
7        boundaries with patients.
8                 Q.     And did they tell you that?
9                 A.     Yes.
10                Q.     Before you were transferred?
11                A.     Yes.
12                Q.     What did they say about their
13       concerns?
14                A.     I don't know if a lot was said,
15       just that I was being transferred.
16                Q.     Who told you that?
17                A.     Jeff Pharis.
18                Q.     And you said -- well, tell me what
19       you do remember that was said.
20                A.     So you're going to find that I
21       don't remember a lot about conversations.                 It's
22       just not the way my brain works.              I remember
23       there was tension.         I remember he wanted me to
24       transfer, and at some point, he just wanted me


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                                                                         Page 25
1        to get my things and go to the other unit.
2                 Q.     And I understand that you're saying
3        that -- you know, specifics of conversations is
4        not your strong suit it sounds like, but I will
5        be needing to ask you for anything that you do
6        remember that is important on my end.
7                        So it was in conversation with Jeff
8        Pharis where you were told that you were going
9        to be transferred?
10                A.     Correct.
11                Q.     Was anybody else in the room?
12                A.     No.    It was -- if I remember
13       correctly, it was in the dayroom and nobody was
14       there.
15                Q.     And, again, he -- do you remember
16       him giving you a specific reason for being
17       transferred?
18                A.     No.
19                Q.     He did not say anything specific as
20       to why it was you were being transferred?
21                A.     If I were -- if I'm to speak
22       truthfully, I would not be able to remember
23       exactly what he said.
24                Q.     But you thought it was because of


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                                                                         Page 26
1        boundary issues?
2                 A.     Yeah.
3                 Q.     What makes you think that?
4                 A.     It may have been after an incident
5        in which I was with that patient, and it --
6                 Q.     I'm going to ask, what patient?
7                        MR. BRODY:      You can say the name of
8        the patient.
9                        THE WITNESS:
10       BY MS. JOHNSTON:
11                Q.     And I'm sorry that I interrupted
12       you there.      I just wanted to make sure I was
13       aware of who we were discussing.
14                       So you said it may have been after
15       an incident with                   and I apologize
16       for --
17                       MR. BRODY:      I'm going to object to
18       that.    You're misconstruing what she said,
19       after an incident.         She said after -- I think
20       she said after she was -- did you use the word
21       incident, or did you use another word?
22                       THE WITNESS:       I used the word
23       incident.
24                       MR. BRODY:      Oh, never mind.        She


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                                                                         Page 27
1        used the word incident.
2                        MS. JOHNSTON:       No problem.
3        BY MS. JOHNSTON:
4                 Q.     Okay.    I'm so sorry about that,
5        Ms. Lenhardt, if you could continue with what
6        it was you were discussing.
7                 A.     So we were in the activity
8        therapist's office cleaning her office, the
9        three of us, Becky Nikolov,                    and myself.
10                Q.     And was there more to that as to
11       why you think that you would have been
12       transferred because of having been in a room
13       with             and another -- I believe Becky
14       Nikolov was another DHS employee?
15                A.     Yes.    Because we were in there
16       after she left, and people -- the STAs and
17       people reported it to whoever they reported it
18       to.
19                Q.     They reported that you were in
20       Becky Nikolov's office alone with
21                A.     Yes.
22                Q.     But during your conversation with
23       Jeff Pharis about being transferred from the
24       M Unit to the L Unit, he did not -- did he


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                                                                         Page 28
1        mention                        at any point in time?
2                  A.    Yes.
3                  Q.    Well, what did he say then?
4                  A.    I really don't remember exactly
5        what he said.
6                  Q.    And previously you had also said
7        that you didn't remember, but do you remember
8        that he mentioned                  specifically?
9                  A.    Yes.    I knew it was about
10                 Q.    Because Jeff Pharis told you?
11                 A.    Yeah, I guess.        I guess.
12                 Q.    Well, and I'm just wanting to
13       clarify where we are because previously you had
14       said that you didn't remember any of the
15       specifics about what it was that you said
16       during the conversation.           So I just want to
17       know, was it your thought that it was because
18       of              just based on your kind of read of
19       the room, if you will, or was it based on what
20       Jeff Pharis specifically said to you about why
21       you were being transferred?
22                 A.    Yeah, it may have been because of
23       what he specifically said.
24                 Q.    But you don't remember what he


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                                                                         Page 29
1        specifically said?
2                 A.     No, I don't.
3                 Q.     Or if he specifically mentioned
4
5                 A.     He must have -- he must have
6        mentioned
7                 Q.     So then you were transferred in --
8        I think you said it would probably be sometime
9        in approximately 2009, that you were
10       transferred to the L Unit?
11                A.     Think it was 2005.         I think you
12       said 2005.
13                Q.     Well, I think 2005 was when you
14       went from the civil side to the forensic side.
15                A.     Oh, you're right.         You're right.
16       You're right.       Yeah, it would have been about
17       2009.
18                Q.     Okay.     And, again, I understand
19       we're working with some approximations here
20       kind of just to help us keep track of the
21       narrative.      We would obviously be able to
22       confirm any of these dates later on, and
23       that's -- okay.         I just want to give us sort of
24       a timeline that we can work with here.


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                                                                         Page 30
1                        So you were transferred to L.             And
2        how long were you on the L Unit?
3                  A.    To make it eight years, so 1997 is
4        when I started at Elgin Mental Health Center.
5                  Q.    Okay.
6                  A.    So eight years from then.
7                  Q.    Well, now, we're talking about when
8        you were on the L Unit, on the forensics side.
9                  A.    Oh.
10                 Q.    So that's after you had done the
11       eight years.
12                 A.    Oh, right, on the civil side.             And
13       then I was on M, and then I was transferred.
14       Okay.
15                       So, yeah, it would have been around
16       2009.     I'm sorry.
17                 Q.    And how long were you on the
18       L Unit?
19                 A.    For the rest of my stay there.
20                 Q.    Okay.     That's the last place that
21       you -- the last unit that you were assigned to?
22                 A.    Uh-huh.
23                 Q.    Okay.
24                 A.    Yes.


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                                                                         Page 31
1                 Q.     And I believe we may have gone over
2        this, but bear with me.          Is the L Unit a co-ed
3        unit as well, or is it all male, all female?
4                 A.     All male.      On the forensic side
5        they did not mix genders.
6                 Q.     And on the L Unit, can you give me
7        a little bit of an idea of what your duties
8        were there?
9                 A.     I admitted patients.          They would
10       come from jail to Elgin Mental Health Center
11       after they were found not guilty by reason of
12       insanity or unfit to stand trial.              We had
13       the -- the largest portion of our population
14       was NGRI, not guilty by reason of insanity.
15                       I did their admissions.           I did all
16       their paperwork.        Did their social assessments.
17       I did their treatment plans.            Went to their
18       treatment plan staffings and presented a
19       treatment plan and -- sorry.            And how they were
20       doing.    The treatment team would be there, the
21       psychiatrist, the psychologist -- I'm sorry.
22       The psychiatrist, psychologist, activity
23       therapist and nurse.
24                       The job also entailed doing a


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                                                                          Page 32
1        relapse -- doing group treatment, having your
2        own group that you did counseling of the
3        patients, development of the relapse prevention
4        plan, court reporting, court -- so if someone
5        came in not guilty by reason of insanity, I
6        wrote their court report, their NGRI court
7        report that -- that outlined their plan for
8        treatment and their reasons they needed to be
9        continued -- in continued psychiatric treatment
10       before they're discharged.
11                       Updated court reports, we had to do
12       court reports every -- how can I forget?                 Maybe
13       every three months?         Maybe every other month.
14       Every other month to every three months, we
15       wrote court reports to the court explaining
16       where they were in their treatment, and then
17       discharge planning.
18                Q.     So --
19                A.     And writing their conditional
20       release packets.
21                Q.     Typically, and I understand that,
22       of course, things ebb and flow, how many
23       patients would you say on average were on the
24       L Unit at a given time?


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                                                                         Page 33
1                 A.     I believe that the capacity for the
2        unit was 25 to 30.         I have to give an estimate
3        because I can't remember exactly, and it was
4        always full.
5                 Q.     And how many social workers,
6        including yourself, were working on the L Unit?
7                 A.     Two to three.
8                 Q.     And how many patients would you
9        estimate that you were working with at any
10       given time?
11                A.     Eight to 11.
12                Q.     And you mentioned that there were a
13       couple of different types of in-person meetings
14       that would occur with your patients, correct?
15                A.     Uh-huh.
16                       MR. BRODY:      Yes.
17                       THE WITNESS:       I'm sorry.      Yes.
18                       MS. JOHNSTON:       And, again, it's so
19       hard because even I know what you're saying
20       right now.      It's just later that this will be
21       an issue.     So thank you, Steve.
22       BY MS. JOHNSTON:
23                Q.     So when you would meet with
24       patients, so what were the types of in-person


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                                                                         Page 34
1        meetings that you would do where you were
2        actually with the patient?
3                 A.     Counseling.
4                 Q.     And would those typically be
5        one-on-one meetings or group meetings?
6                 A.     One-on-one meetings, and there were
7        also group meetings, but...
8                 Q.     I guess what would be kind of the
9        breakdown you would think of what percentage of
10       the meetings that you would have would be
11       one-on-one, versus what percentage were in a
12       group setting?
13                A.     One on -- one-on-one sessions would
14       be weekly, unless there was some conflicts in
15       the schedule.       Group treatment would be weekly,
16       so 50/50.
17                Q.     And when you did the group
18       treatment, was that typically with everybody
19       that would have been on your caseload at the
20       time, or was that further broken down by kind
21       of their needs?
22                A.     It was broken down by their needs.
23                Q.     And when you would do your
24       one-on-one sessions, where did you typically


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                                                                         Page 35
1        meet with your patients?
2                 A.     In my office.
3                 Q.     And where would the group sessions
4        typically take place?
5                 A.     In the group room or in the
6        serenity room.
7                 Q.     You said serenity?
8                 A.     Yeah.
9                 Q.     Thank you.
10                       And, you know, did the other social
11       workers also meet with their patients
12       one-on-one on a weekly -- or roughly a weekly
13       basis?
14                A.     Yes.
15                Q.     And where did the other social
16       workers on the L Unit typically meet with their
17       patients, to your knowledge?
18                A.     In their office.
19                Q.     And when you would meet with a
20       patient in your office, you know, can you
21       briefly sort of describe what the layout of
22       your office was, if you can remember?
23                A.     So you walked in, and to the right
24       was a desk for another social worker or an


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                                                                         Page 36
1        intern.        Next to that desk would be a computer.
2        On the back wall was a window that faced to
3        the -- oh, what do you call it?             The porch, and
4        where they would go outside for outside time.
5                         Then on my back wall was a type of
6        bookshelf with books.          In that corner was a
7        bookshelf with books, and then my desk started.
8        It was an L shape.         And then file cabinets that
9        were not high ones, low ones.             And then the
10       door.
11                 Q.     And typically when you met with
12       patients, would it be with the door opened,
13       with the door closed?
14                 A.     The rule was the door closed but
15       unlocked.
16                 Q.     And you said that was a rule at
17       Elgin?
18                 A.     Uh-huh.
19                        MR. BRODY:     Yes.
20                        THE WITNESS:      Yes.    Yes, that was a
21       rule at Elgin.
22                        MR. BRODY:     By the end of the day,
23       we're going to get you trained.
24                        MS. JOHNSTON:      Exactly.      It just


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                                                                          Page 37
1        takes a little while.
2        BY MS. JOHNSTON:
3                  Q.    Okay.     And so when you were on the
4        L Unit -- or really at your time at Elgin, you
5        can tell me if I'm talking about the wrong
6        unit, did you work with Dr. Hasina Javed?
7                  A.    Yes.
8                  Q.    And when did you work with
9        Dr. Javed?
10                 A.    The entire time I was on the
11       L Unit.
12                 Q.    L Unit.     Okay.
13                 A.    She was the psychiatrist for our
14       unit for the entire time.
15                 Q.    And so you said she was the
16       psychiatrist.       So what did that -- can you
17       explain to me just sort of what that working
18       relationship looked like.
19                 A.    So Dr. Javed was the head of the
20       treatment team.         So she was the head of the
21       patient's treatment.         She met with them once a
22       month to review their medications.               Sorry.    She
23       met with them once a month to review their
24       medications.       We had their treatment plan


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                                                                         Page 38
1        staffings once a month.
2                 Q.     And how often did you interact with
3        Dr. Javed while you were on the L Unit?
4                 A.     Daily.
5                 Q.     Was that typically to discuss
6        different patients, or was it just seeing each
7        other around because you worked in the same,
8        you know, general vicinity?
9                 A.     Every meeting -- we had a morning
10       meeting.      There's two units facing each other.
11       There's a locked door, and then an open area,
12       and then a locked door.          And so K and L were
13       considered -- we considered them sister units.
14                       So K treatment team and L treatment
15       team would meet every morning in a conference
16       room to discuss the previous 24 hours.
17                Q.     And when you said that you guys
18       would meet to discuss the previous 24 hours,
19       what did the -- without, you know, getting into
20       the specifics of other patients or anything,
21       but what did those meeting generally encompass?
22       What types of things did you discuss?
23                A.     The behavior of the patients.             If
24       there were any incidents, changes in


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                                                                         Page 39
1        medication, I suppose.          Updates on their
2        treatment, if it was important.             If somebody
3        was medically compromised, we would do updates
4        of their medical condition.            We've had patients
5        in the hospital, and things like that.
6                 Q.     Would you say that those morning
7        meetings were -- the topics discussed in those
8        morning meetings focused on the patients, not,
9        like, administrative or Elgin staffing or
10       operations?
11                A.     No.     We would discuss changes in
12       rules or administrative decisions, so the
13       goings on of the hospital.
14                Q.     And so you saw Dr. Javed every
15       morning in these meetings, and then were
16       involved with her with the forming of the
17       treatment plans and reviews for the patients
18       that were on your caseload?
19                A.     Yes.    We would review treatment
20       plans and court reports before they were
21       submitted.
22                Q.     And how close would you say that
23       you and Dr. Javed were in terms of your working
24       relationship?         A close work friend?


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                                                                         Page 40
1                  A.     We were close.
2                  Q.     And what about outside of work, did
3        you two have much or any of a relationship
4        outside of being at Elgin?
5                  A.     Only when -- only when we would go
6        out for lunch as a treatment team.
7                  Q.     And how often --
8                  A.     One day -- one Christmas,
9        Dr. Kareemi and Dr. Javed put together a
10       Christmas party for us that we had at
11       Dr. Kareemi's house.
12                        We would celebrate different
13       things.        I don't know.    People's birthdays,
14       social work month, nurses' month -- actually,
15       it was only nurses' week.           And have --
16       everybody would bring something.              I forgot what
17       you call that when everybody brings in
18       something to eat, and then we have -- you know,
19       have --
20                        MR. BRODY:     Pot luck.
21                        THE WITNESS:      Pot luck.      That's it.
22                        Or you have, you know, an hour or
23       so when people were off-shift or whatever, to
24       go in the room, eat and socialize.


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                                                                         Page 41
1        BY MS. JOHNSTON:
2                 Q.     Most of those things would be
3        work-related, even if they happened off-site,
4        it was still more or less a work event for
5        Elgin employees?
6                 A.     Yes, for our unit.         Uh-huh.
7                 Q.     Understood.
8                        And since you left Elgin in 2017,
9        have you spoken with Dr. Javed?
10                A.     I believe I may have texted her
11       asking for a work recommendation.
12                Q.     And outside of that text message,
13       have there been any other communications with
14       Dr. Javed since you left --
15                A.     No.
16                Q.     -- Elgin?
17                A.     No.
18                Q.     And then did you know a Dr. Faiza
19       Kareemi?
20                A.     Yes.    Faiza.
21                Q.     Faiza.     My mistake.
22                       So where did you work with
23       Dr. Kareemi?      At what stage?
24                A.     Dr. Kareemi was the psychiatrist on


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                                                                         Page 42
1        the K Unit, which was our sister unit.
2                 Q.     So --
3                 A.     We didn't have much contact in
4        terms of discussing patients or anything.
5                        There would be times when Dr. Javed
6        was on vacation, and so then Dr. Kareemi would
7        cover the L Unit.
8                        So if there were things happening
9        with the patient, we would have meetings
10       together, me, myself, the patient, a nurse.
11                Q.     And then you would have seen her in
12       the morning meetings, I assume?
13                A.     Yes.
14                Q.     But outside of that, you didn't
15       really have as much interaction with her unless
16       it sounds like Dr. Javed was on vacation or
17       unavailable for some reason?
18                A.     Yeah, we talked sometimes, and --
19       sorry.    We talked sometimes, and these lunches
20       were always done between Dr. Javed and
21       Dr. Kareemi.      It was like they were taking out
22       the two treatment teams.
23                Q.     Understood.
24                       And so how would you describe then


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                                                                         Page 43
1        your working relationship with Dr. Kareemi?
2        How close it was?
3                 A.     We liked each other.
4                 Q.     But there was less interaction with
5        her on a day-to-day basis than there would have
6        been with Dr. Javed?
7                 A.     Yes.
8                 Q.     And what about outside of work, did
9        you socialize with Dr. Kareemi?
10                A.     Just the times that I've told you
11       about when we did lunches, and when we had that
12       Christmas party at her house.
13                Q.     What about since you left Elgin,
14       have you communicated with Dr. Kareemi at all?
15                A.     Not at all.      I do have to -- there
16       was an incident.        I work at Panera, and she
17       came in to buy gift cards.            It was not this
18       past Christmas, but the Christmas before.                 She
19       was buying gift cards for her -- they would
20       give us Christmas presents, and she was buying
21       gift cards, obviously, for the treatment team.
22       And I was there, and I was the cashier.                And it
23       was very awkward.        And we said hi, and nothing
24       else, except for the transaction, and she left.


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                                                                         Page 44
1                 Q.     So there was no further substance
2        to that conversation when you saw her that
3        Christmas?
4                 A.     No.     It was very awkward.
5                 Q.     And then what about Colleen
6        Delaney?      Did you know her when you worked at
7        Elgin?
8                 A.     Yes.
9                 Q.     And what was Colleen -- what was
10       Ms. Delaney's position?
11                A.     For awhile she was nurse manager of
12       our unit.
13                Q.     And which unit would that have
14       been?
15                A.     L.
16                Q.     I'm sorry.      That was me.       Did you
17       say L --
18                A.     L.
19                Q.     -- as in Lisa?
20                A.     Yes.
21                Q.     Okay.     Do you know when she was the
22       nurse manager of the L Unit or roughly?
23                A.     No.     It was -- let me see.         She
24       wasn't -- she wasn't the first nurse manager I


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                                                                         Page 45
1        experienced on L.
2                 Q.     Okay.
3                 A.     I can't remember who was the nurse
4        manager before her.           Maybe she was.      No.    She
5        came in after somebody else, and I don't
6        remember who that nurse manager was.               And then
7        we had her.
8                        And for a period, we had -- I want
9        to say we had Marianne Zuwanski for a period of
10       time.    And then we had -- oh, boy.             Her first
11       name started an N.         I will remember it when I
12       stop trying to remember it.
13                       And then Tom.         Tom.    I can't
14       remember his last name right now.
15                Q.     Okay.    Well, do you remember for
16       Colleen Delaney, you said it was a period of
17       time while you were on L Unit.               Do you remember
18       if she was the nurse manager when you left
19       Elgin?
20                A.     Yes.    No.     No.   It was Tom.
21                Q.     So somewhere in that middle period
22       you can say she was the nurse manager?
23                A.     For a long portion of time.
24                Q.     So then she was the nurse manager,


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                                                                         Page 46
1        and you were a social worker on the same unit.
2        Can you describe to me what that working
3        relationship would look like or did look like?
4                 A.     Started out to be a good
5        relationship, and it ended to be a bad
6        relationship, I guess you would say.
7                 Q.     Why did it change from a good
8        relationship to a bad relationship, in your
9        opinion?
10                A.     She had this thing with me.
11                Q.     Okay.
12                A.     She would -- she would attack me in
13       the morning meetings verbally, and I would end
14       up crying.
15                Q.     And when you say attack you in the
16       morning meetings, can you provide some more
17       information about that?
18                A.     I'm trying to remember all the
19       circumstances.       Okay.     So there was one time I
20       think it happened in the morning meeting, I had
21       called out something that she told some brand
22       new STAs.     STA stands for security therapy
23       aide.    And I took that -- I asked that STA to
24       come into my office and spoke with her.                And


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                                                                          Page 47
1        Colleen was not happy about that.
2                 Q.     Do you remember what it was that
3        you spoke to the STA about?
4                 A.     Yes, I do.
5                 Q.     What was that?
6                 A.     Okay.    She was orienting the STAs,
7        and she told them to watch out for Ben Hurt
8        because he masturbated in his room when people
9        were coming to check on him.
10                Q.     So that's what Delaney told this
11       group of new STAs?
12                A.     Yes.    And I took great offense to
13       that because Ben was my patient, and men are
14       going to masturbate in their bedrooms, and that
15       was really unfair of her to give that
16       preconception to the STAs.
17                Q.     So what did you then say to the STA
18       about it?
19                A.     I asked her what Colleen said.             And
20       I may have told her, you know, what I just
21       said.
22                Q.     And when you say you may have told
23       her what you just said, that was the --
24                A.     This is the normal --


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                                                                         Page 48
1                 Q.     -- the men will masturbate in their
2        private room?
3                 A.     Right.
4                 Q.     Did you tell the STA anything else
5        about Ben Hurt?
6                 A.     I don't -- I don't recall.            I don't
7        think so.
8                 Q.     Did you tell the STA anything about
9        your relationship with Mr. Hurt?
10                A.     No.
11                Q.     So that was the situation where you
12       said then that --
13                A.     Colleen called me out in a morning
14       meeting.      It may have been in the morning
15       meeting.      It may have been privately.            I -- it
16       may have been both.         She was pretty mad.
17                Q.     Do you remember what she said?
18                A.     That I had no right, and it wasn't
19       my responsibility to bring up a young,
20       impressional STA into my office and talk with
21       her.
22                Q.     And were there other incidents
23       between you and Colleen Delaney?
24                A.     Yes.


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                                                                         Page 49
1                 Q.     Do you remember any of those?
2                 A.     There was one that had to do
3        something with some STAs, and the incident I do
4        not remember, but the STAs were completely out
5        of order in the way they had treated me.                 And
6        we had a meeting to discuss it.             And Colleen
7        did not defend me or -- or -- it's not that I
8        wanted her to defend me, it's that I wanted her
9        to call the STAs out on their behavior, and she
10       did not.
11                       And then I wrote her a letter
12       explaining how I felt about that, and brought
13       it to her -- well, I went to her office, and
14       said, You haven't mentioned the letter.                And I
15       was with an intern.         And she was very upset
16       that the intern was in the office with me with
17       her thinking that should be private between me
18       and her, and that my intern shouldn't know.
19                Q.     Do you remember what it is that the
20       STAs in question were doing that was so out of
21       line?
22                A.     I cannot remember.
23                Q.     And then can you think of any other
24       incidents with Colleen Delaney that were


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                                                                         Page 50
1        hostile?
2                 A.     Just -- just the ones during the
3        treatment team meetings.
4                 Q.     But were there more incidents than
5        what it is that we've discussed now?
6                 A.     Yes.
7                 Q.     Do you remember what the hostility
8        would typically relate to?
9                 A.     I don't remember them clearly, no.
10       I can't --
11                Q.     Do you remember if there was kind
12       of a general theme of what it is that these
13       incidents of hostility would relate to?
14                A.     Like, a personal vendetta against
15       me.   Just I -- I don't know.
16                Q.     Is there anything else that you
17       remember right now about those incidents of
18       hostility with Ms. Delaney?
19                A.     Just that she would talk about it
20       and look at me and be hostile and -- until I
21       cried.    I'm -- I'm -- I'm sometimes a very
22       sensitive person.
23                Q.     So it sounds like it was a somewhat
24       fraught relationship.          But in her capacity as


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                                                                         Page 51
1        the -- what was her --
2                 A.     Nurse manager.
3                 Q.     Nurse manager.        So what was your
4        workplace interaction in that sense outside of
5        the morning meetings, which I know would have
6        had both of you?
7                 A.     She ran the unit.         She was over the
8        nurses and the STAs.         So that was her capacity.
9                        And then -- so she was also
10       involved in the patients and their treatment.
11       She would have to know that because the nurses
12       were also treating the patients.
13                Q.     So how often would you actually
14       have to -- and, again, outside of the morning
15       meetings, about how often did you actually
16       interact with Colleen Delaney sort of on a
17       day-to-day basis?
18                A.     One day a week we could not
19       interact at all.        The next day we could
20       interact one time, occasionally.
21                Q.     Okay.     Did you have any sort of
22       relationship with Ms. Delaney outside of work?
23                A.     No.     She was -- she was on my
24       Facebook.     We were friends on Facebook when we


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                                                                         Page 52
1        first got to know each other.             She would talk
2        about her personal life at -- during the
3        treatment team meetings.           She was married to
4        another woman who worked at Elgin Mental Health
5        Center.        That woman was actually a psychology
6        intern on another unit, and they had a
7        relationship and got married.             And they had
8        triplets, I believe.         Maybe it was twins,
9        triplets, twins.         Two sets, actually.
10                        So she would talk about them and
11       show us pictures, and that's when things were
12       good.
13                        But she continued to talk about
14       personal stuff at the morning meetings.
15                 Q.     And, again, it was in the morning
16       meetings or in more of an open situation with
17       other Elgin employees, not specific
18       conversations between you two where she
19       confided in you?
20                 A.     No.
21                 Q.     Okay.    And have you had any
22       interaction with Mr. Delaney since you left
23       Elgin?
24                 A.     No.


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                                                                         Page 53
1                 Q.     Did you know Diana Hogan when you
2        were at Elgin?
3                 A.     Yes.
4                 Q.     And what was her position?
5                 A.     Assistant nursing supervisor.
6                 Q.     And so what would that mean about
7        how it is that you interacted with her through
8        work?
9                 A.     Not very often.
10                Q.     If she was the assistant nursing
11       supervisor, would that be for all of Elgin or
12       just for certain units?
13                A.     All of Elgin -- all of -- all of
14       the forensics treatment program.
15                Q.     Okay.     The forensics side at least,
16       not necessarily the civil side?
17                A.     No.     They had their own
18       administrators.
19                Q.     Okay.     And do you actually remember
20       how many different forensic units are there at
21       Elgin?    We know that there's L and K.
22                A.     There were four UST units.            There
23       was M and N.      K and L.      And then -- yeah.         So
24       there were four units for the NGRIs and some of


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                                                                         Page 54
1        the USTs.      And then there were just UST units.
2        That was H and I, F and G -- F and G, H and I.
3                        So -- oh, and then there was an all
4        women's unit.       I don't think there were men on
5        that unit, too.         Wait.   It started with a W.
6                        THE STENOGRAPHER:         Ma'am, you have
7        to speak up, please.
8                        THE WITNESS:       I'm so sorry.
9                        So F and G, H and I were the UST
10       units.    That's where the USTs came when they
11       first came to the hospital.            And then NGRI
12       units were K and L, M and N.            And then there
13       was another unit that started with a W.                I
14       can't remember now.         Sean would know.         And I
15       believe there were men and women on that unit.
16                       But then there was another unit,
17       right, Sean with --
18                 Q.    That's okay.       Just either way,
19       Diana Hogan was supervising a number -- or she
20       was the assistant nursing supervisor to, you
21       know --
22                 A.    To the entire forensics population.
23                 Q.    Okay.     So she was not
24       necessarily -- how involved would you say she


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                                                                         Page 55
1        was in the day-to-day operations of the L Unit
2        when you were there?
3                 A.     Not very involved.
4                 Q.     Okay.     And when would you interact
5        with Diana Hogan?
6                 A.     When I went up to administration
7        sometimes to be in her office.
8                 Q.     Was Diana Hogan one of the people
9        who would be present at the morning meetings?
10                A.     No.     Administration didn't come to
11       the morning meetings unless they had something
12       to announce or --
13                Q.     So if you were going to describe
14       your relationship with Diana Hogan, how would
15       you describe that?
16                A.     The only word I can think of is
17       affable.      It was -- there was no tension or
18       anything.      She was a nice person.
19                Q.     Okay.     Would you say that you two
20       were close at all?
21                A.     No.
22                Q.     Did you ever socialize with Diana
23       Hogan or see her outside of work?
24                A.     No.


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                                                                         Page 56
1                 Q.     And have you spoken to her in any
2        capacity since having left Elgin?
3                 A.     No.
4                 Q.     And then did you know Drew Beck
5        while you were at Elgin?
6                 A.     Yes.
7                 Q.     What was his position?
8                 A.     Social worker on the K Unit.
9                 Q.     So if he was a social worker on the
10       K Unit, I understand that he would have been at
11       the morning meeting because you guys were
12       sister units.
13                A.     Uh-huh.
14                Q.     Then outside of that, what was
15       really your working relationship with Drew
16       Beck?
17                A.     In terms of work?
18                Q.     Yes.
19                A.     Just -- just the treatment --
20       morning treatment meetings conferring about
21       patients, and -- so Drew was a -- probably
22       still is, a professor at ECC, and I don't know
23       why that makes any difference, except that he
24       had interns, just like I did.             And he had a


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                                                                         Page 57
1        group that he did with the interns that were on
2        K and L.      And he had a group that he had where
3        he imposed his knowledge to the interns of
4        other people and his own.
5                 Q.     So kind of like small --
6                 A.     Like, a supervision kind of
7        meeting.
8                 Q.     Okay.
9                 A.     I'm sorry.
10                Q.     No, not a problem.         I was just
11       going to say, like, a mentorship or small group
12       clinic type of thing with the interns?
13                A.     Correct.
14                       And then there was a time when he,
15       I and Michelle -- I can't remember her name.
16       She's the director of the forensics -- no.
17       She's the director of the whole hospital now.
18       Michelle -- I'll think of her name.               And she
19       and I and him also ran a group together with
20       the interns.      I think twice, maybe once was
21       just Drew and I.        Yes.    Once was just Drew and
22       I, and once was Michelle, Drew and I.
23                Q.     So when you say you were in that
24       group, does that mean you were doing a bit more


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1        work with him in order to prepare for running
2        that group with the interns?
3                 A.     Yeah, a little bit.
4                 Q.     How close would you say that you
5        and Drew Beck were when you worked at Elgin?
6                 A.     In the beginning, we would sit and
7        talk about personal stuff.            But then toward the
8        end, not so much.         He took a more supervisory
9        role because that's just the kind of person he
10       was.   He wasn't a Social Worker III, but he
11       wasn't over the other social workers, but
12       sometimes he acted like he was.
13                Q.     And you said at the beginning you
14       guys would talk about personal stuff, and then
15       that did switch?
16                A.     Yeah.     We --
17                Q.     Do you know --
18                A.     Do I know why?        We just -- we just
19       drifted a part.         I don't think there was any
20       particular reason.         Maybe we were too busy.           We
21       got -- we got -- we got really busy because we
22       didn't have enough social workers.
23                Q.     And did you ever have a
24       relationship or a friendship with Drew Beck


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                                                                         Page 59
1        outside of work?
2                 A.     One -- once we went shopping, and I
3        can't remember why.         We went to Kohl's.         And
4        once I was the -- I planned a retirement for
5        one of the social workers who left, and he
6        helped me.      He and I went to Costco to pick up
7        food and cake and stuff for the retirement
8        party.
9                        That was way more than in the
10       beginning of my time at L.
11                Q.     Your time in the L Unit then?
12                A.     Uh-huh.
13                Q.     Do you know, was Drew Beck -- had
14       he been on the L -- or the K Unit the entire
15       time that you were on L?
16                A.     Was he on K the entire time I was
17       on L?    Yes.
18                Q.     Meaning that you guys were also
19       working on the sister units?
20                A.     Yes.
21                Q.     Okay.     And have you spoken with
22       Drew Beck at all since you left Elgin?
23                A.     You know what, he may have come
24       after -- no, he came after some time.                I can't


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                                                                         Page 60
1        remember who the other social worker was, but
2        he did replace somebody at some point.
3                 Q.     Okay.     So he wasn't there right
4        when you started on L Unit?
5                 A.     No, I don't think so.          I think he
6        replaced the man who retired, but that doesn't
7        make sense because then me and Drew wouldn't
8        have done that.         So he replaced somebody.
9                 Q.     But then since you've left Elgin,
10       have you spoken to or communicated with Drew
11       Beck at all --
12                A.     No, I have not.
13                       MS. JOHNSTON:       I actually think I
14       know we've been going for just about an hour,
15       maybe a little bit more.           Do you want a five
16       minute break to stretch your legs, whatever?
17       Have a glass of water.          Is everybody okay with
18       five?
19                       THE WITNESS:       Yes, I'd like a glass
20       of water.     That would be nice.
21                       MS. JOHNSTON:       We'll just take a
22       quick few minutes and then we'll reconvene.
23       Okay?
24                       THE WITNESS:       Okay.


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                                                                         Page 61
1                         (A recess was had.)
2                         MS. JOHNSTON:      Let's go back on the
3        record.        It is 10:33 a.m.
4        BY MS. JOHNSTON:
5                  Q.     Okay.    Christy, so getting back
6        into our questioning.
7                         When you were working at Elgin, did
8        you know a patient named Mark Owens?
9                  A.     Yes.
10                 Q.     And when, roughly, did you meet
11       Mr. Owens?
12                 A.     I don't remember.        Whenever he was
13       admitted.        I'm sure you have that information.
14                 Q.     And --
15                 A.     I admitted him.
16                 Q.     Okay.    So you were his admitting
17       social worker, if you will?
18                 A.     Yes.
19                 Q.     And then did you continue to be his
20       social worker?
21                 A.     Yes.
22                 Q.     So would you say when you first met
23       Mark Owens, your relationship with him was
24       social worker patient?


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                                                                         Page 62
1                  A.    Correct.
2                  Q.    And do you know that his lawsuit is
3        one of the reasons that we're here today?
4                  A.    Yes.
5                  Q.    And is it true that you're no
6        longer a defendant in that lawsuit?
7                  A.    Yes.
8                  Q.    Did you settle with Mr. Owens in
9        that case?
10                 A.    Yes.
11                 Q.    And I believe the settlement was
12       for $1?
13                 A.    Yes.
14                 Q.    And as a part of that, you also
15       signed an affidavit?
16                 A.    Yes.
17                       MS. JOHNSTON:       Okay.     And, Amanda,
18       if you could help me out now when you have -- I
19       know you might need a minute.             I should have
20       given you a heads up.          If you could go ahead,
21       and it's Exhibit 1, the Mark Owens settlement
22       agreement.
23                       MS. KOZAR:      Okay.     Hang on.
24                       MS. JOHNSTON:       While you're pulling


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                                                                         Page 63
1        that up, I can actually say because I might be
2        able to streamline this a bit more.
3                        So previously, Randy and Joe, I
4        know that we just agreed to stipulate to the
5        authenticity of the agreement.             It's, you know,
6        a file, court document.
7                        MR. CECALA:      Yes.
8                        MS. JOHNSTON:       Steve, if you -- and
9        I think you had it before, but Steve, would you
10       also be willing to stipulate to the
11       authenticity of the settlement agreement and
12       waiver?
13                       MR. BRODY:      Yes.
14                       MS. JOHNSTON:       Okay.     And,
15       obviously, if you have any time where you want
16       to look at it in more detail, I sent it last
17       night, you can take a moment if you need to.
18                       MR. BRODY:      If it would be easier,
19       I could print it so Christy has a hard copy in
20       front of her, or you can use the screen share.
21       We're indifferent.
22                       MS. JOHNSTON:       I mean, Christy, I
23       would say that that's really your decision.
24       It's not going to be a huge amount of looking


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                                                                          Page 64
1        at it, but if it's easier for you to read it
2        off a piece of paper, and if Steve has a
3        printer readily available, we can give it a
4        minute so you can look at it that way.
5                        THE WITNESS:       Since maybe you might
6        not be scrolling to the right spot, that would
7        be helpful.
8                        MR. CECALA:      I don't want to be
9        talking over.       I was going to say, we're
10       stipulating to the settlement agreement.                 I was
11       going to make an objection that, you know, the
12       settlement agreement is significantly more than
13       $1.     There's -- the contents of it speak for
14       themselves.      So just making a clean record of
15       what the contents of the settlement agreement
16       are in the settlement agreement, it's not a $1
17       settlement.
18                       THE WITNESS:       I agree with you on
19       that.
20                       MS. JOHNSTON:       And I will stipulate
21       that the agreement speaks for itself.
22                       MS. KOZAR:      Mary, so do you still
23       want me to share my screen?
24                       MS. JOHNSTON:       Steve, if you're


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1        able to print that out.          Everybody on our
2        end --
3                        MR. BRODY:      I'm able to print it.
4        Which one do you want?          The Owens' one first?
5                        MS. JOHNSTON:       Yeah, that would be
6        the first one.       I mean, honestly, we'll look at
7        all four of the e-mails that I sent over.                 So
8        if you just want to go ahead and get going on
9        it, that's fine.        But I don't know --
10                       MR. BRODY:      I'm doing it now.
11                       MS. JOHNSTON:       I don't have any
12       objection to all of us just looking at it on
13       our respective screens, if that's fine for
14       everybody else.        I know I sent out copies of
15       the exhibits in advance.
16                       MS. NEWMAN:      Mary, I just might --
17       Amanda, if you have problems pointing, you
18       might want me to point out a specific place in
19       the agreement.       Maybe Amanda might be ready to
20       screen share just in case we have any
21       difficulty finding the exact passage that you
22       want to point to.
23                       MS. JOHNSTON:       Yeah.     And
24       realistically, I can tell you now that as we


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                                                                           Page 66
1        have stipulated to the agreement itself, we're
2        not going to go through all of it.               So what
3        will be getting pulled up is on page 11 out of
4        13 is where we'll focus.
5                        MR. BRODY:      On the Owens one, I've
6        got nine pages.
7                        So you were mentioning page 11.              It
8        ends on page nine.
9                        MR. CECALA:      Were you talking about
10       the Hurt one possibly?
11                       MS. JOHNSTON:       I don't know.
12                       THE STENOGRAPHER:         Do you want this
13       on the record?
14                       MS. JOHNSTON:       No, we can take --
15       thanks, Gay.      We can off the record.
16                               (Discussion had off the
17                                record.)
18       BY MS. JOHNSTON:
19                Q.     So, Ms. Lenhardt, you may have
20       heard earlier, all of the attorneys here have
21       stipulated that this is an accurate copy of the
22       settlement agreement and the affidavit that you
23       signed in the Owens case, and you have been
24       given a copy of this printed out by your


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                                                                           Page 67
1        lawyer.
2                        But if you want to take a quick
3        look at it just to familiarize yourself with
4        it.
5                        Do you recognize this as the
6        affidavit that you signed in the Owens case?
7                  A.    Yes.
8                  Q.    Okay.     And if you can look to
9        paragraph nine of the affidavit there.                I
10       believe, that Mr. Brody previously pointed it
11       out to you?
12                 (Exhibit No. 1 referenced.)
13                 A.    Yes.
14                 Q.    Okay.     And would you be able to
15       read that paragraph 9 starting with "In the
16       past," into the record.
17                 A.    Okay.     In the past I have made the
18       serious mistake of becoming sexually involved
19       with a patient.         No such thing occurred with
20       the plaintiff, Mark Owens.            I'm aware that
21       Mr. Owens claims he interpreted my behavior
22       toward him as seductive, and that because he is
23       religious, that made him feel uncomfortable.                  I
24       cannot account for Mr. Owens' statement about


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                                                                         Page 68
1        this, but I did not intend to seduce him.                 It
2        may be that he was hypervigilant because of
3        rumors at EMHC.        I believe that due to his
4        discomfort, he told Hasina Javed he did not
5        want to continue counseling sessions in my
6        private office.
7                        In response, his counseling
8        sessions were held in the unit conference room.
9        (As read).
10                Q.     And then if we could look at the
11       next page starting with paragraph 10.                If you
12       could just read that paragraph 10.
13                A.     Paragraph 10.       I did not want
14       Dr. Javed to have any knowledge or suspicion
15       that I was involved in a sexual relationship
16       with a patient, nor did I want her to suspect
17       that I was acting in a seductive manner towards
18       any patient.      (As read).
19                Q.     And you know that when you signed
20       this affidavit, you were swearing that these
21       statements were true and accurate?
22                A.     Yes.
23                Q.     And were those two paragraphs that
24       you read just now accurate?


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                                                                         Page 69
1                 A.     Yes.
2                 Q.     And as such, you never had a sexual
3        relationship with Mark Owens?
4                 A.     No.
5                 Q.     And did you ever touch Mr. Owens in
6        a sexual manner?
7                 A.     No.
8                 Q.     Did you ever fondle Mr. Owens?
9                 A.     No.
10                Q.     Did he ever fondle you?
11                A.     No.
12                Q.     Did he ever expose himself to you?
13                A.     No.
14                Q.     Did you ever expose yourself to
15       him?
16                A.     No.
17                Q.     Did you ever kiss Mr. Owens?
18                A.     No.
19                Q.     Did you ever engage in any sexual
20       intercourse, including, you know, oral or
21       penetrative sexual intercourse with Mr. Owens?
22                A.     No.
23                Q.     Okay.    And what is your
24       understanding of why Mr. Owens filed the


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                                                                         Page 70
1        lawsuit?
2                  A.    My understanding is that he
3        believed there was (audio distortion), is lying
4        that there was, but there was not.
5                  Q.    And you stated there that Mr. Owens
6        stated he was uncomfortable, and -- let me pull
7        up the exact language.          I apologize.
8                        That Mr. Owens told Javed that he
9        did not want to continue the counseling
10       sessions in your office?
11                 A.    Correct.
12                 Q.    Okay.    And do you remember
13       discussing that at all with Dr. Javed?
14                 A.    It was my understanding that
15       because he had become Muslim, a lot of the
16       black patients because -- become Muslim when
17       they enter into Elgin Mental Health Center.
18       Part of that reason is we had a patient named
19       Omar who would speak to them and read to them
20       through the Koran, and influence them to become
21       Muslim.
22                       And his intention was good.            It
23       wasn't -- I can't think of the word.               It wasn't
24       evil or anything.


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                                                                         Page 71
1                        MR. CECALA:      I'm having trouble
2        hearing Christy's testimony.            Sorry, Christy.
3                        MS. JOHNSTON:       A little bit, yeah.
4                        THE WITNESS:       All right.      It was my
5        understanding that the reason that the sessions
6        moved to the conference room is because he was
7        uncomfortable as a person following the Muslim
8        faith to be in a room with a woman.
9        BY MS. JOHNSTON:
10                Q.     So it was your understanding that
11       that would have just been discomfort really
12       with any woman that he would have been meeting
13       alone with?
14                A.     Yes.
15                Q.     And to clarify, that is your
16       understanding as to why it is that he asked to
17       have your counseling sessions conducted in the
18       conference room from that point forward?
19                A.     Yes.    No one told me anything about
20       any sexual behavior.
21                Q.     Okay.    So when you discussed this
22       with Dr. Javed, what did she say to you about
23       why the meetings would be taking place in the
24       conference room as opposed to in your


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                                                                         Page 72
1        individual office?
2                 A.     That he was uncomfortable meeting
3        with me in my office.
4                 Q.     Did Dr. Javed say anything else
5        about why?
6                 A.     No, not that I recall.
7                 Q.     And did you ever discuss the
8        decision to meet with -- or to stop meeting
9        with Mr. Owens in your office with Dr. Kareemi?
10                A.     No.
11                Q.     Did you ever discuss --
12                A.     She wasn't -- she wasn't his
13       psychiatrist.         She was on the other unit.
14                Q.     Did you ever discuss that decision
15       to stop meeting with Mr. Owens in your office
16       with Colleen Delaney?
17                A.     No.
18                Q.     Did you ever discuss that decision
19       with Diana Hogan?
20                A.     No, not that I recall discussing it
21       with anybody, except Dr. Javed.
22                Q.     Okay.     So -- and that was going to
23       be my next question.         Did you discuss it with
24       Drew Beck at any point in time?


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                                                                         Page 73
1                 A.     With who?
2                        MR. BRODY:      Drew Beck.
3        BY MS. JOHNSTON:
4                 Q.     Drew Beck.
5                 A.     Oh.     No.
6                 Q.     And you said that you think that
7        you only just --
8                        THE STENOGRAPHER:         I didn't hear
9        you.
10                       THE WITNESS:       No, I do not recall.
11       Not that I recall, did I ever speak to Drew
12       Beck about it.
13       BY MS. JOHNSTON:
14                Q.     Okay.     And is there anybody else
15       outside of Dr. Javed that you think that you
16       ever discussed that with?
17                A.     No, I don't think so.
18                Q.     And is that everything that you
19       remember right now about why it is that you
20       stopped meeting with Mark Owens in your office
21       and started meeting with him in the conference
22       room?
23                A.     It is everything I remember right
24       now.


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                                                                         Page 74
1                 Q.     Okay.    And then when you were at
2        Elgin, did you have -- or did you know a
3        patient named Ben Hurt?
4                 A.     Yes.
5                 Q.     And how did you meet Mr. Hurt?
6                 A.     I admitted Ben Hurt to the
7        hospital.
8                 Q.     So you admitted him, and then were
9        you his social worker as well?
10                A.     Yes.
11                Q.     And do you remember, roughly -- and
12       as you said, I know that we can get the exact
13       dates, but do you have an estimate in your mind
14       as to when it was that Mr. Hurt was admitted to
15       Elgin?
16                A.     Well, if he had a three year date
17       for release and it was in 2017, then it would
18       have been 2014.
19                Q.     Okay.    And do you remember why Ben
20       Hurt was admitted to the L Unit at Elgin?
21                A.     Aggravated battery toward a police
22       officer.
23                Q.     When Mr. Hurt was first admitted to
24       Elgin and you did his admitting paperwork and


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1        were assigned as his social worker, what was
2        your relationship with Mr. Hurt like when he
3        first came to the L Unit?
4                 A.     Strictly social worker and patient.
5                 Q.     And I know that we've talked a bit
6        before about kind of your general duties as a
7        social worker, but is there any -- can you just
8        give me some background about what that exactly
9        meant, as it relates to Mr. Hurt?              What would
10       you do with him, and how often would you see
11       him?
12                A.     So I admitted him, and got his
13       background information for the admission papers
14       and the start of his social assessment.                I
15       welcomed him to the unit.           I tried to make
16       people feel comfortable when they come in.
17                Q.     Okay.    And so how often would you
18       meet with Mr. Hurt?
19                A.     Once a week.       Maybe not in the
20       beginning, but I had to meet with him to get
21       his social assessment information and develop a
22       treatment plan and do his NGRI evaluation.                 The
23       NGRI evaluation is the document that goes to
24       court that explains everything, why he's in the


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                                                                         Page 76
1        hospital.
2                        From all the information that we
3        get, I compile it and summarize it, make the --
4        it's not exactly a treatment plan, but there
5        are points that you have to cover.               And then
6        you're explaining why they continue to need
7        psychiatric treatment and need to stay in the
8        hospital.
9                 Q.     And so you said you would meet with
10       him, maybe not once a week at the very
11       beginning, but then did it turn into having
12       weekly individual meetings with him?
13                A.     Yes.
14                Q.     And was he also in any group
15       meetings?
16                A.     Yes.
17                Q.     Do you remember what his group was
18       in terms -- sorry.
19                A.     I --
20                Q.     Also to just clarify, in terms of
21       the content of the meeting, not who else was in
22       the meeting.
23                A.     Aspects of healthy living.            And I
24       can't remember what I called it.              It was a


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                                                                         Page 77
1        group about meditation.
2                  Q.     What did aspects of healthy living
3        cover?
4                  A.     Aspects of healthy living.           Coping
5        skills -- coping skills.           Ways to handle your
6        emotions.        Ways to handle your mental health
7        issues.        How to navigate life.
8                  Q.     Okay.   So that is the aspects of
9        healthy living, as you said.
10                        And so at any point in time, did
11       you enter into a sexual relationship with
12       Mr. Hurt?
13                 A.     Yes, I did.
14                 Q.     Do you know roughly when that
15       happened?
16                 A.     No.
17                 Q.     I guess put another way, would you
18       be able to estimate how long he was there
19       before the relationship took that turn?
20                 A.     I can't remember the month he was
21       admitted.        I'm just guessing eight months.
22                        MR. BRODY:     Don't guess.
23                        THE WITNESS:      Okay.    I can't guess.
24       You said I can't guess.


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                                                                         Page 78
1        BY MS. JOHNSTON:
2                 Q.     No, that's fine.        We want to know
3        what you know.       And, again, if you don't -- if
4        you know something, that's okay.
5                        I just wanted to know if you had an
6        estimate as to how long you were his social
7        worker before the relationship also went to a
8        sexual one, and not purely social worker and a
9        patient relationship.
10                       But so when you did enter into a
11       relationship with Mr. Hurt, is -- did you try
12       to hide that relationship?
13                A.     Yes.
14                Q.     Why?
15                A.     Because it wasn't appropriate, and
16       I could lose my job, and he could get into
17       trouble.
18                Q.     So you said that you and -- you
19       could get into trouble if this was found out,
20       correct?
21                A.     Along with him, yes.
22                Q.     How would he get into trouble?
23                A.     It would go in his court report and
24       affect whether he could leave earlier or not.


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                                                                         Page 79
1                 Q.     Okay.     And then in terms of the
2        impact this could have on you if the
3        relationship was discovered, so you stated that
4        you could lose your job?
5                 A.     Yes.
6                 Q.     And would that involve losing your
7        social worker's license?
8                 A.     I hadn't thought that far ahead,
9        but yes.
10                Q.     Let's talk about what it is that
11       has happened since this information came to
12       light.
13                       So you are no longer employed at
14       Elgin?
15                A.     Uh-huh.
16                       MR. BRODY:      Yes.
17                       THE WITNESS:       Yes.
18       BY MS. JOHNSTON:
19                Q.     And do you still have your social
20       worker's license?
21                A.     I do not.
22                Q.     Okay.     What about did you have a
23       pension through your employment at Elgin?
24                A.     Yes.


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                                                                         Page 80
1                 Q.     Were you able to retain that
2        pension?
3                 A.     No.     I got the value of it, like,
4        what -- I got what I contributed to it.                I did
5        not get the pension where you get the
6        monthly --
7                 Q.     Okay.     But you basically got back
8        what you had paid in?
9                 A.     What I contributed, yeah.
10                Q.     Okay.     And then were criminal
11       charges ever filed against you in relation to
12       this?
13                A.     Yes.
14                Q.     And were you convicted?
15                A.     I took a plea deal.
16                Q.     Okay.
17                A.     I did not want it to go to trial
18       and affect my family.
19                Q.     And now has this impacted your
20       relationship with your family?
21                A.     Yes.
22                Q.     How so?
23                       MR. BRODY:      Objection.       Relevance.
24                       MS. JOHNSTON:       You can go ahead and


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                                                                         Page 81
1        answer.
2                        MR. BRODY:      Go ahead.
3                        THE WITNESS:       Well, obviously, I
4        had to work it out with my husband, my parents.
5        My husband's family refused to allow me to
6        attend any of their events.            Weddings,
7        Thanksgiving, Christmas, they did not want me
8        to associate with them.
9        BY MS. JOHNSTON:
10                 Q.    So, generally speaking, you were
11       aware that there would be or could be very
12       serious consequences if your relationship with
13       Mr. Hurt was discovered?
14                 A.    Yes.
15                 Q.    And as such, you actively tried to
16       keep people from finding out about the sexual
17       relationship between you two?
18                 A.    Yes.    And I want to state the
19       sexual relationship was completely secondary.
20       We had an intimate relationship before that
21       ever happened.       An emotional relationship.
22       That was the most important, not the sexual
23       part.
24                 Q.    How long do you think that you had


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                                                                         Page 82
1        had more than an emotional relationship with
2        Mr. Hurt before the sexual relationship began?
3                 A.     I can't even guess.
4                 Q.     And you stated that you didn't
5        discuss this relationship with your friends?
6                 A.     No.
7                 Q.     And did you discuss the
8        relationship with your family at all?
9                 A.     No.    Well, after it came to light,
10       yes.
11                Q.     And I mean before.
12                A.     No.
13                Q.     And did you --
14                A.     Oh, I -- go ahead.
15                Q.     No.    I'm sorry.      I didn't mean to
16       interrupt you.
17                A.     I never discussed it with anyone.
18                Q.     And that includes people at work?
19                A.     Yes.
20                Q.     So -- and I know that this might
21       get redundant, but did you ever discuss your
22       relationship outside of the social
23       worker-patient context with Ben Hurt with
24       Dr. Javed?


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                                                                         Page 83
1                 A.     No.
2                 Q.     Did you ever discuss it with
3        Dr. Kareemi?
4                 A.     No.
5                 Q.     Did you ever discuss it with
6        Colleen Delaney?
7                 A.     No.
8                 Q.     Did you ever discuss it with Diana
9        Hogan?
10                A.     No.
11                Q.     Did you ever discuss it with Drew
12       Beck?
13                A.     No.
14                Q.     Did you ever --
15                A.     There were -- there were times when
16       they came to talk to me presumably about it,
17       but I never went and told them about it or told
18       them about it during those meetings.
19                Q.     Okay.    So when you say that there
20       were times when they came to talk to you, can
21       you tell me more about any of those instances.
22                A.     Dr. Javed came to my office, and I
23       can't explain it, but we're talking very
24       professional people who can talk around things,


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                                                                         Page 84
1        and it was talked around.           It was never
2        explicitly mentioned, but it was, obviously,
3        about my inappropriate relationship with him.
4        Not about sex, but about being too close to
5        him.
6                        And she said, "Every time I come to
7        your door, Ben is in your office."               She said,
8        "You have a lovely, beautiful family."                That's
9        about all I remember.
10                Q.     Do you remember when this
11       conversation took place?
12                A.     No.
13                Q.     And you said that you believe that
14       kind of the tenor of the conversation was about
15       your relationship with Ben Hurt being overly
16       close, correct?
17                A.     Yes.
18                Q.     But that it didn't necessarily
19       relate to there being an actual sexual
20       relationship?
21                A.     Correct.
22                Q.     So what do you think that could
23       have meant if they thought the relationship was
24       close, but not sexual?


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                                                                         Page 85
1                 A.     That I crossed boundaries.
2                 Q.     What kind of boundaries would those
3        be then that could be crossed out having a
4        sexual relationship?
5                 A.     That it was -- that my relationship
6        had become -- had crossed boundaries between a
7        treatment professional relationship and a
8        personal relationship.
9                        MR. CECALA:      I'm going to make an
10       objection.      It's calling for her to speculate
11       on what Dr. Javed was thinking, or what
12       Dr. Javed's viewpoints were.            I think she's
13       asked and answered the question.              And we can
14       ask Dr. Javed what she thought when she was
15       telling her they were too close.
16                       MS. JOHNSTON:       Okay.     And yeah, I
17       was just also asking what it is that Christy
18       thought because she specifically stated that
19       Dr. Javed didn't say anything explicit.                So I
20       was just making sure I understood what her read
21       of the situation was.
22       BY MS. JOHNSTON:
23                Q.     But you do state that Dr. Javed
24       never told you that she thought that you and


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                                                                         Page 86
1        Mr. Hurt were engaged in a sexual relationship?
2                 A.     Correct.
3                 Q.     And do you have any reason to
4        believe that Dr. Javed had ever seen you and
5        Mr. Hurt engage in any sort of sexual activity?
6                 A.     Not that I know of.
7                 Q.     Okay.    Typically speaking, where
8        would any encounters that you had with Mr. Hurt
9        take place?
10                A.     In my office.       And later in Bob
11       Hamlin's office.
12                Q.     And when you were in your office,
13       would that be kind of -- you previously
14       described that there was a window in your
15       office, correct?
16                A.     Yeah.    There's -- well, yeah.           I
17       talked about the window that went out to the
18       outside where they --
19                       MR. BRODY:      The courtyard.
20                       THE WITNESS:       The courtyard.
21       That's what it was called, the courtyard.                 And
22       then there's a door and a window -- I mean,
23       there's a window in the door.
24


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                                                                         Page 87
1        BY MS. JOHNSTON:
2                  Q.     Okay.    Would you and Mr. Hurt kind
3        of purposely position yourself to reduce the
4        likelihood that you would be seen?
5                  A.     Yes.
6                  Q.     Okay.    And you said that, to your
7        knowledge, Dr. Javed never actually saw
8        something physical happen between you and
9        Mr. Hurt?
10                 A.     To my knowledge.       He was in front
11       of me, so I could not see the door -- or the
12       window.        He would turn and look and make sure
13       nobody was looking in the window.
14                 Q.     And at no point in time, did he
15       ever tell you that Dr. Javed just looked in?
16                 A.     Right.
17                 Q.     And she never mentioned having seen
18       an actual physical interaction between you and
19       Mr. Hurt?
20                 A.     Correct.
21                 Q.     And there's one situation that you
22       said where she mentioned that Mr. Hurt was
23       always in your office when she walked by, but
24       that was the extent of that conversation?


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                                                                         Page 88
1                 A.     It was kind of like a warning.
2                 Q.     But, again, she never actually said
3        that she thought that you had crossed a line in
4        terms of a sexual relationship with Mr. Hurt?
5                 A.     Correct.
6                 Q.     And was that the only time that you
7        ever had a conversation like that with
8        Dr. Javed, that you remember?
9                 A.     No.
10                Q.     And what -- when did you have the
11       next conversation or was it a previous
12       conversation?
13                A.     After -- it was after the incident
14       in Bob Hamlin's office, she told me to stop
15       going to K --
16                Q.     Okay.
17                A.     -- Unit.
18                Q.     Understood.
19                       And let's actually just discuss the
20       incident in Bob Hamlin's office.
21                A.     Okay.
22                Q.     Can you tell me what happened?
23                A.     I would go over -- you don't need
24       to know the reason.


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                                                                          Page 89
1                        I was in Bob Hamlin's office.               He
2        came to talk to me like he usually did.                He
3        came in and eventually closed the door, and I
4        went "No," because there was something wrong
5        with the door where it was -- Bob told me about
6        it.   And told me that they had put in two or
7        three work orders to get it fixed because it
8        would lock from the inside.            It -- they would
9        have trouble getting it open.
10                       So he closed the door.           He ended up
11       wanting to have sex, and we had sex.               And then
12       when we went to leave, the door was locked, and
13       we couldn't get out.
14                       And then we tried really hard for a
15       long time to try to get it to open.               And then I
16       called the nurse's station to tell them that I
17       was locked in the office with Ben.               And I -- we
18       needed help getting out.
19                Q.     I assume at some point somebody did
20       come and help you get out of the --
21                A.     First the nurse and the STA came
22       and tried to open the door.            And they were
23       freaking out.       They were pretty nervous about
24       it.


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                                                                         Page 90
1                        And then they called security and
2        security came.       And then, like, a locksmith,
3        whoever worked at Elgin Mental Health Center
4        with his orders came, and they couldn't get it
5        open.    And they drilled it so that it would
6        open.
7                 Q.     Okay.
8                 A.     So it was a big hullabaloo.
9        Patients were standing around.             Lots of
10       security.     It was very embarrassing.
11                Q.     And you said that you were in Bob
12       Hamlin's office.        Where is Bob Hamlin's office
13       located?
14                A.     On K Unit.
15                Q.     And why were you in there?
16                A.     So Bob had a patient who was
17       transferred to me.         And he had developed an
18       incentive program with that patient where if
19       the patient -- he was a developmentally
20       disabled patient.        And if he did well for the
21       day, then he got a snack.           And Bob was a very
22       conscientious person, and he didn't want me to
23       pay for the snacks since he started the
24       program.


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                                                                         Page 91
1                         So I would go to his office at the
2        end of every day to get the snacks to put in
3        Nathaniel's nutrition box.
4                  Q.     Okay.     And so at this point in
5        time, where was Mr. Hurt residing?
6                  A.     Mr. Hurt had moved; had been
7        transferred to K.
8                  Q.     Do you know why Mr. Hurt was
9        transferred to the K Unit?
10                 A.     They wanted -- oh, initially it was
11       because of a fight that had occurred between
12       him and another patient, and they needed to
13       get -- they needed to separate them.
14                 Q.     Okay.
15                 A.     The patient had harassed him and
16       harassed him and harassed him until he started
17       a physical fight.
18                 Q.     And do you know who Mr. Hurt's
19       social worker on the K Unit was?
20                 A.     Initially it was Bob Hamlin.
21                 Q.     And then did it become somebody
22       else?
23                 A.     Drew's.     It -- he became Drew
24       Beck's.        Drew Beck became his social worker.


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                                                                          Page 92
1                 Q.     And then during that time when he
2        was on the K Unit, it means that his, like,
3        treating psychiatrist would have been
4        Dr. Kareemi instead of Dr. Javed?
5                 A.     Correct.
6                 Q.     Okay.    So you went to Bob Hamlin's
7        office that day, which is on the K Unit, to get
8        the snack for the incentive program that had
9        already been established related to this other
10       patient?
11                A.     Uh-huh, my patient now.
12                Q.     Your patient now?
13                A.     Yes.    That patient had been
14       transferred from K to L.           He had been Bob
15       Hamlin's patient, and we continued the
16       incentive program, which Bob continued to pay
17       for, and he kept the snacks in his office.                 And
18       so I would go to K to get the snacks.
19                Q.     And you previously said that you
20       would go to the K Unit every day to get these
21       snacks out of Mr. Hamlin's office?
22                A.     Yes.    Because he got a snack every
23       day unless he acted up.
24                Q.     All right.      So it was not unusual


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                                                                         Page 93
1        for you to go into Bob Hamlin's office to get a
2        snack?
3                 A.     For that purpose, it was not
4        unusual, no.
5                 Q.     And how long had that been going on
6        with you going over to Bob Hamlin's office to
7        get the snack for the incentive program before
8        the incident happened with you and Mr. Hurt
9        being locked in?
10                A.     I can't even guess.         Months.
11                Q.     Okay.     So a little while though?
12       More than -- it wasn't, you know, day four of
13       you going over there?
14                A.     No.     No way.
15                Q.     Okay.     And so then you said
16       Mr. Hurt came in while you were already in
17       Mr. Hamlin's' office?
18                A.     He would come and talk to me at the
19       doorway, and then come in to take the box off
20       the -- the tall filing cabinet, so I could get
21       the snacks, and then we would talk for awhile.
22                Q.     Okay.     And was that pretty typical
23       for when you would go and get the incentive
24       snack?


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                                                                         Page 94
1                 A.     Yeah, it happened every day --
2                 Q.     And did more than Mr. Hurt talking
3        with you and lifting the box up happen every
4        day?   Was there any --
5                 A.     Yes.
6                 Q.     -- sort of -- sorry.
7                 A.     Yes.
8                 Q.     Okay.    But this was the only time
9        when -- was this the only time that you two had
10       sex in Bob Hamlin's office?
11                A.     It's the only time we had
12       intercourse in Bob Hamlin's office.
13                Q.     Okay.    And is that the only time
14       that you got locked into the office?
15                A.     Correct.
16                Q.     Okay.    And when you had to call --
17       sorry.    Who did you call first?           Was it the
18       nurses' station?
19                A.     I called the nurses' station.
20                Q.     Okay.    Do you remember what you
21       told them?
22                A.     That I was in Bob Hamlin's office
23       with Ben Hurt, and we couldn't open the door.
24                Q.     And do you remember what they said


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                                                                         Page 95
1        in response to that?
2                  A.     Just that they were going to come
3        and help let me out.
4                  Q.     And how long did it take for
5        somebody to get over from the nurses' station
6        to Bob's office?
7                  A.     A minute.
8                  Q.     And you stated that then they
9        weren't able to open the door.             Did you call
10       security then, or did one of those --
11                 A.     No.     They did.
12                 Q.     Sorry?
13                 A.     No, they did.
14                 Q.     And you mentioned that a lot of
15       people were around.          Who did you see that
16       actually kind of witnessed the unlocking or
17       process of unlocking the office?
18                 A.     Well, definitely Chief Epperson.
19       Actually, he was -- actually, I don't know if
20       he was there.          I know he was in the nurses'
21       station.       So it would have been other security
22       guards.        It would have been patients.          Patients
23       and security guards.
24                 Q.     Do you remember if Dr. Javed came


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                                                                         Page 96
1        by at any time when you were locked in the
2        office?
3                  A.    No.    It was after.       She left at
4        3:00, and I left at 4:00.           So I would do this
5        around 3:30.       Neither -- but Dr. Kareemi and
6        Dr. Javed left at 3:00.
7                  Q.    And what about Colleen Delaney, was
8        she in the area --
9                  A.    No.    She was --
10                 Q.    -- or Diana?
11                 A.    She was assistant nursing director
12       by that time, and Diana Hogan was the nursing
13       director.      So, no, they wouldn't have any
14       reason to be walking around the unit.
15                 Q.    And it sounds like -- does that
16       mean that they were on -- it sounds like you
17       referred to it before more as administration?
18                 A.    Yes.
19                 Q.    And where did administration work
20       in proximity to the forensic units?
21                 A.    So you have the -- along -- so you
22       come into the building through security.                 You
23       have to pass the security, go through security
24       doors.    Walk down a hallway.          To the left was


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                                                                         Page 97
1        UST units.      To the right was the NGRI units.
2        You would turn right, and go down a very long
3        hallway until you got to the double doors.
4                        And then the double doors opened,
5        and each unit was on either side of the closed
6        double doors.         So about five minutes.
7                 Q.     So it was a little bit of a hike?
8                 A.     It was a hike.
9                 Q.     Okay.     They wouldn't just kind of
10       randomly be walking by the area?
11                A.     No.
12                Q.     Okay.
13                A.     Administration -- you had asked me
14       where administration was.           Administration
15       was -- so you had the lobby, and administration
16       was to the left behind -- there was a door.
17       And then you walked in, and we called that
18       administration.         There were offices and
19       cubicles.
20                Q.     Okay.     And so then after you were
21       let out -- I believe, drilled out of Bob
22       Hamlin's office, what happened next?
23                A.     Bob Hamlin came and said that Chief
24       Epperson wanted to speak with me.              He was the


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                                                                         Page 98
1        head of security, and that he was sitting in
2        the nurses' station.
3                 Q.     Okay.    And did you go speak with
4        Chief Epperson at that time?
5                 A.     Yes.
6                 Q.     And what did you two discuss?
7                 A.     He wanted to know why Ben and I
8        were in the office behind the locked door.
9                 Q.     And what did you say?
10                A.     It wasn't supposed to be locked.
11       It was unlocked, and it was closed, and that
12       door had been malfunctioning for quite a while,
13       and work orders had been put in because they
14       knew it was malfunctioning, and it just
15       happened to lock that day.
16                Q.     And you've previously said that it
17       was not an uncommon practice -- or I think it
18       was standard practice for social workers to
19       meet one on one with patients with the door
20       closed, but not locked?
21                A.     Correct.
22                Q.     Okay.    And then you told
23       Mr. Epperson that it wasn't supposed to be
24       locked and that was a malfunction.               What did he


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                                                                         Page 99
 1       say?
 2                A.     He was mad that --
 3                Q.     I'm sorry.
 4                A.     He was mad.       He said things about
 5       security, and not being in the office alone
 6       with a patient and all this other stuff.
 7                Q.     Okay.     But you had previously said
 8       that being alone in the office with a patient
 9       was not unusual?
10                A.     Security didn't like that we were
11       alone in offices with patients.
12                Q.     Okay.     But it still was a common
13       practice at Elgin, they just didn't like it?
14                A.     But it would not have been a common
15       practice for me and Ben, since Ben was not my
16       patient at that time.
17                Q.     Okay.     And did Mr. Epperson seem to
18       blame you for what happened?
19                A.     Yeah, I suppose since I was the
20       social worker and should have been in control
21       of the situation.         But I told him that
22       unbeknownst to me, that Ben just grabbed the
23       door and shut it.
24                Q.     And do you think that Mr. Epperson


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                                                                        Page 100
 1       doubted the sincerity of what you told him
 2       about how this was an accident?
 3                       MR. CECALA:       I'm going to make an
 4       objection again.        We can't just keep having her
 5       speculate about what everyone else was
 6       thinking, whether he doubted it or not.                 What
 7       did he say?       What did she say is perfectly
 8       fine, but I'm kind of letting it go.                But she
 9       can't testify to Bob Hamlin's speculation.
10       What did he say?
11       BY MS. JOHNSTON:
12                Q.     Did he tell you didn't believe you?
13                A.     No.     He was mad.
14                Q.     And did he tell you what he was mad
15       at --
16                A.     He was disgruntled.
17                Q.     Oh, go ahead.
18                A.     Disgruntled.
19                Q.     Did he tell you he was mad at you?
20                A.     Yeah.     I mean, he didn't say, I'm
21       mad at you, but he acted mad while we were
22       talking.
23                Q.     Okay.     So then after you had the
24       incident in Mr. Hamlin's office, you said that


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                                                                          Page 101
 1       you talked with -- or that Dr. Javed told you
 2       not to go to K Unit?
 3                A.     Correct.
 4                Q.     How long after the incident was
 5       that?
 6                A.     The next week -- the next week.              I
 7       think it was on a Friday because I had all
 8       weekend to stew and worry about what was going
 9       to happen on Monday.
10                Q.     And what did Dr. Javed say to you?
11                A.     That there was no reason for me to
12       be going to K Unit; that Bob was going to move
13       the snacks into my office; and that she did not
14       want to hear about me being on K Unit at all.
15                       She was --
16                Q.     So then the snacks that you had
17       gone to K Unit on a mostly daily basis to get,
18       were removed from Bob Hamlin's office?
19                A.     Correct.
20                Q.     And put in your office?
21                A.     Correct.
22                Q.     And she just told you that then you
23       had no reason to go to K Unit anymore?
24                A.     Correct.


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                                                                        Page 102
 1                Q.     Did she say anything else about
 2       what had happened in Mr. Hamlin's office?
 3                A.     She may have alluded to the fact,
 4       but I don't remember her saying anything
 5       specific.
 6                Q.     When you say "She may alluded to
 7       the fact," what does that mean?
 8                A.     I would assume that it would mean
 9       that I didn't need to be in Bob's office with
10       Ben because Ben wasn't my patient.
11                Q.     But what did she say?
12                A.     I don't remember.
13                Q.     Did she tell you that she was
14       worried about the fact that you were in the
15       office with Ben?
16                A.     No.
17                Q.     Did she ask if anything happened in
18       the office with Ben?
19                A.     No.
20                Q.     Did she ask you why Ben was in the
21       office with you?
22                A.     She may have.        She may have because
23       I know that at some point I would have
24       explained that Ben had been my patient, and he


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                                                                        Page 103
 1       wanted to tell me what was going on in his
 2       treatment and how he was doing, and that he
 3       would come in and get the box off the file
 4       cabinets and -- in a helpful way.
 5                Q.     But you didn't say that he was in
 6       the office because you two had any sort of
 7       sexual relationship?
 8                A.     No.
 9                Q.     And did Dr. Javed ask if you had a
10       sexual relationship with Ben Hurt at that time?
11                A.     No.
12                Q.     And then had -- you already said
13       you had that conversation then with Dr. Javed.
14       Did you talk with anybody else outside of
15       Dr. Javed and Mr. Epperson about the incident
16       being locked into Bob Hamlin's office?
17                A.     Bob and Cara.
18                Q.     Bob and -- let's just go over, what
19       did you say with Bob about -- when did you talk
20       with Bob about the incident?
21                A.     He was maybe going out to the
22       parking lot or something, walking down the
23       hall, walking out to the parking lot maybe.
24       And he said that, yeah, that lock has been --


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                                                                        Page 104
 1       that door has not been functioning, and we put
 2       in work orders.         And it was -- it was -- it
 3       was -- I don't know if he said ironic or it was
 4       weird that it locked or something.
 5                       I think they talked around it.
 6       Nobody ever said anything specific.
 7                Q.     But he did tell you that the lock
 8       had been broken, and he had put in several work
 9       orders to get it fixed?
10                A.     Yes.
11                Q.     And so it was common knowledge to
12       him that it wasn't working properly at least?
13                A.     Yes.    Yes.     And so people were --
14       and it was an accident.           All of sudden he went
15       to close the door, and I was freaking out
16       because the door wasn't supposed to be shut
17       because it was malfunctioning.
18                Q.     And -- but I think you said that
19       you talked about it with Cara?
20                A.     Yeah.     I was worried about -- I
21       was -- what?
22                Q.     And is that Cara Wueste?
23                A.     Wueste.
24                Q.     W-U-E-S-T-E, I believe?


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                                                                        Page 105
 1                 A.     Correct.
 2                 Q.     Okay.     And who is she?
 3                 A.     She was my friend.         She was a
 4       social worker on the unit I worked on.
 5                 Q.     On the L Unit?
 6                 A.     Yes.
 7                 Q.     Okay.     And when did you talk with
 8       Cara about this?
 9                 A.     I think coming into the facility
10       the next morning or the Monday, if it was on a
11       Friday.        And I was talking about how I was
12       worried about what was going to happen at the
13       morning meeting when they talk about the
14       incident, and -- and how odd it was that the
15       door malfunctioned, and we got locked in.
16                        And she was like, Christy, it will
17       be okay.       You just got locked in, you know, to
18       a room and you didn't do it on purpose.
19                 Q.     And did you tell her anything about
20       what happened with Ben Hurt while you were
21       locked in the office?
22                 A.     No.     Cara knew nothing.
23                 Q.     So you never discussed having any
24       sort of nonprofessional relationship with


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                                                                        Page 106
 1       Mr. Hurt with Cara?
 2                A.     Uh-huh.      No.
 3                Q.     Okay.     And you never discussed it
 4       with Bob Hamlin either?
 5                A.     No.
 6                Q.     You didn't -- did you talk about it
 7       with anybody that you worked with at Elgin?
 8                A.     No.
 9                Q.     And were there any other incidents
10       that you can think of where you feel that
11       Dr. Javed was trying to talk with you about
12       your relationship with Ben Hurt or that was
13       your impression?
14                A.     That -- those two times.
15                Q.     Okay.     And is that all you remember
16       about those two conversations that we have been
17       discussing?
18                A.     Yes.
19                Q.     And I believe that you also earlier
20       mentioned that Drew Beck said something that
21       you perceived as related to --
22                A.     Yes.
23                Q.     -- your relationship?
24                       Okay.     Well, do you remember --


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                                                                        Page 107
 1                A.     Yes.
 2                Q.     -- generally speaking when that
 3       was?    Was it before or after the incident in
 4       Bob's office, how about that?
 5                A.     I want to say it was after, but I'm
 6       not sure.
 7                Q.     And what did he say?
 8                A.     It might have been before.            I think
 9       it might have been before.
10                       Okay.     So he came to my office, and
11       he said that administration was watching me,
12       and that -- I don't know if he said I needed to
13       be careful.       It was a warning about
14       administration watching me and Ben.               And that
15       he had had conversations with administration.
16                       And, see, administration talked to
17       him like more than Bob Hamlin, who's actually
18       the Social Worker III.           Drew had connections up
19       there because at one time he had another
20       position up there.
21                       So anyways they talked to him about
22       my relationship with Ben, and he came to tell
23       me that they were watching it.              And I should be
24       careful, I guess, was his intention.


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                                                                          Page 108
 1                       And before he left, he said, "I
 2       don't know what it is with you and black guys."
 3                       And then I went to say something.
 4       I was really caught off guard.              And I have no
 5       idea what I was going to say, but I went to say
 6       something, and he said, "I don't want to know."
 7       And he left.
 8                Q.     And do you remember where that
 9       conversation took place?
10                A.     In my office.        Basically, people
11       suspected that something was going on between
12       myself and Ben; that there was, obviously, a
13       romantic relationship, but I believed that if
14       nobody knew it was sexual, that I was safe.
15                       I believed that people had to see
16       it.    I thought the OIG rule -- which I was
17       wrong.     I thought the OIG rule was that you had
18       to see and have evidence of to report it.                  And
19       unbeknownst to me when I researched that later,
20       all you needed to do was suspect a relationship
21       with somebody, and people suspected I had a
22       relationship with Ben.
23                Q.     But nobody ever told you that they
24       suspected?


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                                                                        Page 109
 1                A.     Whether it was sexual or not, they
 2       should have reported it.
 3                       I think they did report it to
 4       protect me because everybody -- because we had
 5       relationships that -- what was your question?
 6                Q.     But nobody actually told you that
 7       they thought you were having a sexual
 8       relationship with Ben Hurt?
 9                A.     No.
10                Q.     And then you also entered into a
11       settlement agreement with Mr. Hurt in this
12       case, correct?
13                A.     Yes.
14                       MS. JOHNSTON:        And actually while
15       we do this, let's go off the record real quick.
16                               (Discussion had off the
17                                 record.)
18       BY MS. JOHNSTON:
19                Q.     Ms. Lenhardt, in August of 2020,
20       you entered into a settlement agreement with
21       Mr. Hurt in this case; is that correct?
22                A.     Yes.
23                Q.     Okay.     Sorry.     I couldn't hear you
24       there.


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                                                                        Page 110
 1                 A.     I'm sorry.      I'm not usually a loud
 2       person.        This is very difficult.        Just like
 3       when I have to do it at work, I have to scream
 4       for people to hear me.
 5                 Q.     Well, I understand.         And we're
 6       asking you to kind of communicate in a lot of
 7       abnormal ways with the no nonverbal
 8       communication, and the stilted way that you
 9       have to answer questions here.
10                        MS. JOHNSTON:       And let me just
11       clarify, Gay, we went back on the record,
12       correct?
13                        THE STENOGRAPHER:        Yes.
14       BY MS. JOHNSTON:
15                 Q.     Okay.    So in August of 2020 you
16       entered into a settlement agreement with
17       Mr. Hurt.        And I believe that your attorney has
18       given you what's marked as Exhibit 3, which is
19       the settlement agreement in that case?
20                  (Exhibit No. 3 referenced.)
21                 A.     Yes.
22                 Q.     And I'll give you a second to take
23       a look at it.
24                 A.     Okay.


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                                                                        Page 111
 1                Q.     I believe you heard us say earlier,
 2       so all of the attorneys, we are stipulating as
 3       to the authenticity of the settlement
 4       agreement, but feel free to take a minute to
 5       look at it, if you like, just to refresh
 6       yourself as to what it says.
 7                A.     Okay.
 8                Q.     You don't have to read the whole
 9       thing word-for-word, but just so that you're
10       comfortable.
11                A.     Okay.
12                Q.     And so, Christy, do you recognize
13       this settlement agreement?
14                A.     Yes.
15                Q.     And as a part of this, did you also
16       sign an affidavit and provide a signed
17       affidavit in this case?
18                A.     Yes.
19                Q.     Okay.     And now move on to Exhibit
20       4, which I believe Steve also has, which is the
21       affidavit for the Hurt case.
22                  (Exhibit No. 4 referenced.)
23                A.     Yes.
24                Q.     Okay.     Do you have a copy of that


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                                                                        Page 112
 1       there with you?
 2                A.     Yes.
 3                Q.     And do you recognize this as the
 4       affidavit that you signed?
 5                A.     It looks like it, yes.
 6                Q.     And to clarify, we have also
 7       stipulated as to the authenticity of the
 8       affidavit.
 9                A.     Okay.
10                Q.     And so before you signed this
11       affidavit, did you go over all the information
12       that was in it with your attorney?
13                A.     Yes, I did.
14                Q.     And you understood when you signed
15       that affidavit that you were swearing that all
16       of the information in that affidavit was true
17       and accurate?
18                A.     Yes.
19                Q.     And did you say, is this a -- the
20       information that you put in that affidavit, is
21       that a complete statement; meaning, is that all
22       of the information that you had that you would
23       want to put into the affidavit in this case?
24                       MR. BRODY:       Objection to the form


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                                                                        Page 113
 1       of the question.
 2       BY MS. JOHNSTON:
 3                Q.     Did you leave out information about
 4       what it is that anybody at Elgin may have known
 5       about your relationship with Ben Hurt when --
 6                       MR. BRODY:       Same -- go ahead.
 7       Finish your question.
 8       BY MS. JOHNSTON:
 9                Q.     (Continued) -- when helping draft
10       this affidavit?
11                       MR. BRODY:       Same objection.        The
12       form of the question.
13                       MR. CECALA:       I have the same
14       objection.      The affidavit speaks for itself.
15                       THE WITNESS:       I --
16                       MR. CECALA:       It's a sworn affidavit
17       under oath.       There's no question pending.             It's
18       a sworn affidavit under oath.
19                       MR. BRODY:       Here's the other
20       problem.      You're asking if she's left anything
21       out.    I don't recall -- but it's my
22       understanding that it was not necessarily meant
23       to be all inclusive of everything she knew or
24       could have known or what have you.


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                                                                        Page 114
 1                       And given the form of the question,
 2       you're asking if that's got everything.                 If
 3       there's something specific you think that may
 4       be missing or otherwise, please ask her.
 5                       But as Joe said, the affidavit is
 6       the affidavit, and it says what it says.
 7       BY MS. JOHNSTON:
 8                Q.     Okay.     And just going back -- we
 9       can turn back to Exhibit 3, which is the
10       settlement agreement.
11                       And then at paragraph 1, a, iv, it
12       states, Defendant's statement to her best
13       recollection, summarizing each otherwise
14       undocumented conversation she has had with
15       co-defendants in the litigation occurring at
16       any time subsequent to October 1, 2014,
17       including the time and place of such
18       conversation, which relate to any statement or
19       assertion made in defendant's affidavit
20       identified as Exhibit A, regarding any staff or
21       employee of the State of Illinois, Department
22       of Human Services, located or employed at Elgin
23       Mental Health Center, the facility.               (As read).
24                       So it appears that this affidavit


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                                                                        Page 115
 1       was intended to kind of document any otherwise
 2       undocumented conversations that you have had
 3       with either, you know, defendants Javed,
 4       Kareemi, Delaney, Hogan or Beck?
 5                       MR. CECALA:       I have an objection.
 6       That's actually not the language that you just
 7       read.    The language speaks for itself.              It's
 8       improper impeachment.
 9                       So to impeach her on the affidavit
10       or the settlement agreement, you have to ask
11       about the settlement agreement and use
12       language.      And what you just read is
13       defendant's statement, to her best
14       recollection, summarizing otherwise
15       undocumented conversations.            It's a summary.
16                       You have the right to depose her,
17       and ask her anything else, which is what we're
18       doing today, but you can't --
19                       MS. JOHNSTON:        Did you have -- Joe,
20       it's a speaking objection.            I can go ahead
21       and --
22                       MR. CECALA:       My objection.
23       BY MS. JOHNSTON:
24                Q.     Do you have any --


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                                                                         Page 116
 1                       MR. CECALA:       It's improper
 2       impeachment.       I need to make the record.            It's
 3       improper impeachment.          The documents speaks for
 4       themselves, and you can't use the document to
 5       then speculate on what the meaning of the
 6       document is to impeach her.
 7       BY MS. JOHNSTON:
 8                 Q.    Are there other conversations that
 9       were not documented -- and we'll go through the
10       affidavit.      And what I was going to ask is, Are
11       there other conversations that you had that you
12       didn't include in this affidavit that you think
13       were relevant to whether or not anybody at
14       Elgin had knowledge about a relationship with
15       Ben Hurt?
16                       But let's go to the affidavit.
17                       So you have a copy of that in front
18       of you?
19                 A.    Yes.    Yes.
20                 Q.    Sorry.     I could hear then.
21                       So if we go to page two, there's
22       paragraph 10.
23                       MS. JOHNSTON:        Now, given that
24       we're having some difficulty with the court


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                                                                        Page 117
 1       reporter being able to hear Christy all the
 2       time, does anybody object -- because I don't
 3       think that Gay's having that difficulty with
 4       myself, and we all have a copy of this.                 Does
 5       anybody object if I just read some of these
 6       paragraphs in instead to help make sure that
 7       she can hear what we're saying?
 8                       MR. CECALA:       Sure.     I mean, we'll
 9       stipulate to paragraph 10.
10                       MS. JOHNSTON:        But I'm going to
11       have specific questions.           So we'll just make
12       sure that we have it all in there.
13                       So paragraph 10 --
14                       THE WITNESS:       Can you explain to
15       where we are on this document?
16                       MR. BRODY:       Here.    Let me
17       (indicating).
18                       MS. JOHNSTON:        Sure.
19                       THE WITNESS:       He's going to help
20       me.
21                       MR. BRODY:       She's at paragraph 10.
22       Okay.    You're talking paragraph 10 of the
23       affidavit, correct?
24                       MS. JOHNSTON:        Paragraph 10 of the


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                                                                        Page 118
 1       affidavit, yeah.
 2                       MR. BRODY:       And that's Exhibit 4 of
 3       the affidavit.        She had the wrong document.
 4                       MS. JOHNSTON:        Oh.    And does she
 5       have the affidavit in front of her now?
 6                       MR. BRODY:       She will momentarily.
 7                       Paragraph 10 starts with, "Drew
 8       Beck and Hasina Javed," correct?
 9                       MS. JOHNSTON:        Yes.
10                       MR. BRODY:       All right.      She's got
11       it.
12       BY MS. JOHNSTON:
13                Q.     So that paragraph 10 reads, Drew
14       Beck and Hasina Javed indicated that my
15       relationship with Ben Hurt was overly close.
16       Drew Beck advised me that administrators were
17       watching me and that I needed to be careful.
18       Hasina Javed told me that every time she came
19       to my office, she noticed Ben Hurt in there.                   I
20       believe these statements were made in an effort
21       to tell me they suspended something about my
22       relationship with Ben Hurt and were warnings
23       about suspicions by superiors at the EMHC.
24                       I do not believe either of them


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                                                                        Page 119
 1       knew about any specific encounters between Ben
 2       Hurt and me, except the incident described in
 3       paragraph 18 hereof.
 4                       And I will also state that
 5       paragraph 18 discusses the incident in Bob
 6       Hamlin's office, if anybody would like to look
 7       for it there to confirm as much.
 8                       And so, Christy, previously we
 9       discussed a situation where Dr. Javed told you
10       that she noticed that Ben Hurt would be in your
11       office a lot, and then there's a -- well, is
12       that what you're referring to in this paragraph
13       10 here?
14                A.     Yes.
15                Q.     So we've already discussed that
16       conversation in detail here today?
17                A.     Yes.
18                Q.     Are there any other details that
19       you remember about that conversation that you
20       would like to discuss now?
21                       MR. BRODY:       Objection to the form
22       of the question.
23                       Would she like to discuss -- she
24       doesn't want to discuss any of this.


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                                                                        Page 120
 1       BY MS. JOHNSTON:
 2                Q.     Fair enough.
 3                       Is there anything else that you
 4       remember about that conversation?
 5                       THE WITNESS:       Can I talk to you?
 6                       MR. BRODY:       Not while there's a
 7       question pending.
 8                       Is there anything else that -- she
 9       asked, is there anything else you remember
10       about it?      Yes or no.      It's that simple.
11                       THE WITNESS:       The -- just the part
12       about where she said I had a beautiful family.
13       BY MS. JOHNSTON:
14                Q.     But you said that earlier today?
15                A.     Correct.
16                Q.     Right.
17                       And outside of what's -- what we've
18       said earlier today during this deposition, is
19       there anything else you remember about that
20       conversation?
21                A.     No.
22                Q.     And --
23                A.     Not that I recall.          Not that I
24       recall, no.


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                                                                         Page 121
 1                Q.     And then I'm going to move to
 2       paragraph 11 now, and this is on page three, I
 3       believe.
 4                       But it says, Hasina Javed and other
 5       staff in general would have observed or been
 6       aware of my frequent contact with Ben Hurt in
 7       my office on Unit L.          Hasina Javed and other
 8       unit staff would have observed our interactions
 9       on Unit L and should have interpreted these
10       actions as indication that our relationship
11       exceeded the bounds of an appropriate
12       therapist-patient relationship.              Hasina Javed
13       may have been aware of my frequent visits to
14       Unit K after that Ben Hurt's transfer to that
15       unit through discussions with other staff.                  I
16       visited Ben Hurt in Unit K frequently, so Drew
17       Beck observed such visits on numerous
18       occasions.      (As read).
19                       And so you state that Javed would
20       have seen you interact with Mr. Hurt while you
21       were on L Unit?
22                A.     Yes.
23                Q.     Okay.     But he was your patient
24       while you were on L Unit, correct?


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                                                                        Page 122
 1                 A.    Yes.
 2                 Q.    So it would be normal for you to
 3       interact with him on a regular basis?
 4                 A.    Not as much as we did, no.
 5                 Q.    But it's still normal that you
 6       would interact with him?
 7                 A.    Yes.
 8                 Q.    And Javed wasn't necessarily always
 9       there looking at exactly how often you saw
10       Mr. Hurt.      She wasn't, you know, working in the
11       same office as you, correct?
12                 A.    No.     She had an office in the
13       hallway on the unit.
14                 Q.    Okay.     And she also had her own
15       patients that she would be seeing and her own
16       workload?
17                 A.    Yes.
18                 Q.    And you mentioned that Dr. Javed
19       may have known that you visited Mr. Hurt on
20       K Unit?
21                 A.    Yes.
22                 Q.    And, obviously, I'm aware that
23       there was -- after the incident in Bob Hamlin's
24       office, she told you not to go to K Unit,


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                                                                        Page 123
 1       correct?
 2                A.     Yes.
 3                Q.     Do you know if she was aware of any
 4       prior visits that you had with Mr. Hurt on
 5       K Unit before the incident in Bob's office?
 6                A.     Not specifically, but everybody
 7       knew I went to the K Unit.            I mean, they could
 8       see me walk down the hall.
 9                Q.     Right.
10                       And you also were going to the
11       K Unit to get the food for the incentive
12       program for the patient that you had?
13                A.     Correct.
14                Q.     Okay.     And outside of the two
15       conversations that we have talked about today,
16       specifically, when she said that Mr. Hurt was
17       in your office frequently and told you -- and
18       then when she told you that you didn't have to
19       go to the K Unit, did you ever have any other
20       conversations with Dr. Javed about Mr. Hurt?
21                A.     Well, sure, in terms of treatment
22       planning, yes.
23                Q.     And I apologize.         That was a bad
24       question.


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                                                                        Page 124
 1                        Did you ever have conversations
 2       with Dr. Javed about your relationship with
 3       Mr. Hurt outside of the standard, you know,
 4       meetings regarding his treatment?
 5                 A.     Not that I can recall.
 6                 Q.     And then if you want to take a look
 7       back at -- paragraph 12 states that Hasina
 8       Javed and Drew Beck clearly suspected an overly
 9       close, possibly a romantic relationship between
10       Ben Hurt and me.        This was evident by the
11       statements they made to me.            (As read).
12                        To confirm, as it relates to
13       Dr. Javed, are you basing the statement made in
14       paragraph 12 on the two conversations that
15       we've discussed here today?
16                 A.     Yes.
17                 Q.     And are there any other
18       conversations that you would base that
19       statement on that we have not discussed here
20       today?
21                 A.     There may have been, but I don't
22       recall.        Those were the two most important
23       ones.
24                 Q.     And so you say there may have been,


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                                                                        Page 125
 1       but you don't recall?
 2                 A.     Yes.
 3                 Q.     So it's also possible that there
 4       were no other conversations?
 5                 A.     Yes.
 6                 Q.     And then let me jump down a bit to
 7       paragraph 23, which is -- well, at the top it
 8       says it's page six of 11.            Do you have page
 9       six?
10                        And in paragraph 23 it says, Diana
11       Hogan was the nursing director and Colleen
12       Delaney was the assistant nursing director at
13       the time of the incident in Bob Hamlin's
14       office.        They would have received a report of
15       this incident and should have attempted to
16       learn more about what happened.              Yet, to my
17       knowledge, they did not talk to Drew Beck, who
18       was then Ben Hurt's therapist, or others about
19       the incident, nor did they speak to me.                 (As
20       read).
21                        Is that an accurate recitation of
22       that paragraph?
23                 A.     Yes.
24                 Q.     Okay.    And do you know if Colleen


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                                                                         Page 126
 1       Delaney or Diana Hogan ever spoke with anybody
 2       about the incident in Bob Hamlin's office?
 3                A.     No, I don't have knowledge of it,
 4       but -- I don't have knowledge of it, but I know
 5       that that's what would have happened.                  Security
 6       puts out this report, and it goes to everybody.
 7                Q.     But you do not know what
 8       conversations, if any, they had with other
 9       people about this?
10                A.     No.    They're administration.           They
11       would have had those conversations amongst
12       themselves, not me.
13                Q.     Right.
14                       So you're unable to say whether or
15       not any of those conversations did take place?
16                A.     I am sure they did, but I can't say
17       yes for sure.
18                Q.     And then in paragraph 27, which is
19       the first full paragraph of page eight.
20                A.     Yes.
21                Q.     And if we look down -- well, I'll
22       let you go ahead and read that paragraph again.
23       We have stipulated to everything.               But,
24       Ms. Lenhardt, if you wouldn't mind looking at


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                                                                        Page 127
 1       paragraph 27, specifically, the second
 2       sentence.
 3                       You state that, Ben Hurt and I,
 4       meaning yourself, positioned ourselves in such
 5       manner that the sexual contact could not be
 6       seen from outside the office.             (As read).
 7                A.     Yes.    We were hoping that the
 8       sexual contact could not be seen, yes.
 9                Q.     But, again, so you were taking
10       specific steps to try to hide what you were
11       doing in the office?
12                A.     Yes.
13                Q.     And you did not want any patients
14       or other Elgin staff to know what was going on?
15                A.     Yes.    Why would you want to?
16                Q.     And then in paragraph 28, you say
17       that, Some time before the spring of 2017, I
18       was becoming concerned that EMHC staff,
19       including Drew Beck, Hasina Javed, various
20       security therapy aides and others, were
21       becoming suspicious of Ben Hurt and me and that
22       the administration would learn of our
23       relationship.       Ben Hurt and I told each other a
24       number of times that we had to be very careful.


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                                                                          Page 128
 1       I felt I was in danger of losing control.                  (As
 2       read).
 3                       Again, so to reiterate, you and
 4       Mr. Hurt discussed specifically being careful
 5       and not getting caught?
 6                A.     Yes.
 7                Q.     Okay.     I went over it a few times,
 8       but at no point in time did anybody from Elgin
 9       ever tell you that they thought you were having
10       a sexual relationship with Ben Hurt?
11                A.     No.
12                Q.     And nobody ever asked you if you
13       were having a sexual relationship with Ben
14       Hurt?
15                A.     No.
16                Q.     And then in paragraph 31, it
17       says -- and this is the bottom of page nine.
18                       And paragraph 31 reads that,
19       Ultimately the sexual relationship between Ben
20       Hurt and me was discovered through an odd
21       coincidence.       I had allowed Ben Hurt to take a
22       picture with my cell phone.            He then posted it
23       on Instagram.         Nanette Mangahas, a retired EMHC
24       employee saw the picture and called Colleen


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                                                                        Page 129
 1       Delaney to discuss it.           Apparently, Colleen
 2       Delaney reported the matter and the
 3       administration ordered a security search of Ben
 4       Hurt's room, which turned up multiple items of
 5       digitally recorded evidence of my relationship
 6       with Ben Hurt.        If not for the fortuitous
 7       discovery by Mangahas, I am sure my
 8       relationship with Ben Hurt would have remained
 9       unreported for a significantly longer period of
10       time. (As read).
11                       So ultimately it looks like Colleen
12       Delaney was the person who actually made the
13       report to OIG regarding your relationship with
14       Mr. Hurt?
15                A.     That's what I was to understand.
16       That's what Marva, the unit -- the unit --
17       that's what Marva, the -- what is it called?
18       The union -- the union president told me.
19       There were a couple meetings where she rushed
20       me out for a meeting -- just a time when she
21       rushed me out of Elgin Mental Health Center,
22       and she told me -- she said, I'm not supposed
23       to tell you, but this is what's going on.
24                Q.     Okay.


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                                                                        Page 130
 1                       MR. CECALA:       And one objection, for
 2       the record.       The affidavit doesn't say that
 3       Delaney reported it to OIG.            It just says, She
 4       reported it.       I don't think we know who she
 5       reported it to.
 6                       MS. JOHNSTON:        Noted.
 7       BY MS. JOHNSTON:
 8                Q.     But either way, Colleen Delaney is
 9       the one who, to your knowledge, reported it to
10       some entity or higher up?
11                A.     Yes, that is what I understood.
12                Q.     Okay.
13                A.     I mean, there's gossip and...
14                Q.     And you previously said that you
15       and Colleen Delaney didn't have a particularly
16       smooth relationship towards the end of your
17       time at Elgin?
18                A.     Yes.
19                Q.     And I believe you said that you
20       felt that she had a personal vendetta against
21       you?
22                A.     Yeah.     I feel like she had some
23       kind of -- this is just my professional
24       opinion, from my training, that she had some


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                                                                         Page 131
 1       kind of -- it's a word you use when people have
 2       a -- like, that somebody reminds you of
 3       somebody else or some situation.
 4                Q.     I'm not sure if that's
 5       transference, but --
 6                A.     Yes.    Counter-transference.           Thank
 7       you.
 8                Q.     There you go.
 9                A.     I believe that she -- no.            It's
10       just -- she didn't like me because -- I always
11       thought she didn't like me because I was
12       feminine and she wasn't.           She was a lesbian,
13       and she was very masculine.
14                Q.     But either way, it is your opinion
15       that she did not like you?
16                A.     Yeah.     Yes.
17                Q.     And you don't think that Colleen
18       Delaney would have been going out of her way to
19       do you many favors?
20                A.     No.     No, she wouldn't have been.
21       No.
22                Q.     And we've gone over a good amount
23       of information here, and we're not necessarily
24       quite done.       I know other people have


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                                                                        Page 132
 1       questions, too.
 2                       Before I look over my notes one
 3       last time, is there any -- have you told me
 4       everything that you remember out of what it is
 5       that I've asked you about?            Is there anything
 6       else that you remember?
 7                 A.    My memory is not good, so yes, that
 8       is all I remember.
 9                 Q.    Okay.
10                 A.    You have to understand that this
11       was traumatic for me, and I blanked out certain
12       things so that I could function.              I couldn't
13       function if I kept thinking about conversations
14       where people were suspicious of me.               I had to
15       keep thinking that it would be okay.
16                       And -- and I took steps to try to
17       stop our sexual relationship, and Ben wouldn't
18       let me.
19                       MR. BRODY:       You don't need to get
20       into a narrative about this.
21                       THE WITNESS:       Okay.     All right.
22                       MS. JOHNSTON:        Let me go ahead, and
23       everybody, I just want to look over my notes
24       here.     Can we take five minutes?


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                                                                        Page 133
 1                       MR. BRODY:       Sure.    Come back 12:05?
 2                       MS. JOHNSTON:        Yes, 12:05 should
 3       work.
 4                       (A recess was had.)
 5                       MR. BRODY:       We are ready.
 6                       MS. JOHNSTON:        Okay.    Back on the
 7       record.
 8       BY MS. JOHNSTON:
 9                 Q.    Ms. Lenhardt, I just have a couple
10       last questions for you.
11                       One, I believe -- so were you in a
12       union when you were employed at Elgin?
13                 A.    Yes.
14                 Q.    What is the name of that union?
15                 A.    Afscme.      It's letters.       I think
16       it's A-S -- I don't know -- S-C-M-E or --
17       Afscme.
18                 Q.    Okay.
19                 A.    I'm sorry.       I don't know what it
20       stands for.       Afscme.     A-F-S-M-E-E or --
21                 Q.    Don't worry.       I'm sure we'll be
22       able to figure it out.
23                       I believe you mentioned that you
24       had a union rep that you spoke with.                Do you


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                                                                        Page 134
 1       know who that was?
 2                 A.    Marva Stroud, M-A-R-V-A,
 3       S-T-R-O-U-D.
 4                 Q.    And when you were at Elgin, I kind
 5       of understand the team that you worked with
 6       when you were on the L Unit, but who was your
 7       actual then supervisor as a social worker?
 8                 A.    Bob Hamlin.
 9                 Q.    And who would have been above Bob
10       then?
11                 A.    Joanne Langley.
12                 Q.    And was anybody above Joanne
13       Langley?
14                 A.    The -- Jeff Pharis.          Jeff Pharis
15       left.     I'm trying to remember who was after --
16       I'm sorry.      Jeff Pharis left, and he was the
17       director -- the forensics director?               I don't
18       remember the title.          And he left.       And then it
19       was -- all I remember is -- oh, Peggy.                Peggy
20       Gibble.
21                       And for awhile it was Salvador -- I
22       can't remember his last name.             And then it was
23       Tom-something.
24                 Q.    Okay.     But, generally speaking,


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 1       when you were on the L Unit, your immediate
 2       supervisor was Bob Hamlin?
 3                 A.    Correct.
 4                       MS. JOHNSTON:        Okay.    And your
 5       attorney has printed out, and Joe and Randy,
 6       you were gone for this.           We're just going to
 7       pull up Exhibit 2.         That's that one page
 8       e-mail.
 9                  (Exhibit No. 2 referenced.)
10                       And I believe that Steve has a copy
11       for you, or will be able to give you a copy.
12                       MR. BRODY:       She has it.
13       BY MS. JOHNSTON:
14                 Q.    Okay.     And, Christy, you don't need
15       to read it out loud, but can you just take a
16       look at that e-mail.
17                 A.    I have.
18                 Q.    And can you confirm that if you see
19       in purple writing about half -- or I don't
20       know, a third of the way down the page, it
21       says, On Thursday November 17, 2016, at 15:30.
22       So 2:30 p.m.       Christy Lenhardt from
23                             Gmail.com wrote.
24                       And, Christy, is that your -- or


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                                                                        Page 136
 1       was that your e-mail address on November 17,
 2       2016?
 3                A.     Yes.
 4                Q.     Is that still an e-mail address
 5       that you use?
 6                A.     Yes.
 7                Q.     And did you write that e-mail to
 8       Ben Hurt?
 9                A.     Yes.
10                Q.     And then did you send that to
11       him -- we can all agree, you sent that to that
12       same e-mail address that Mr. Hurt used to
13       forward it to Mr. Kretchmar, the
14                               yahoo.com?
15                A.     No.     What I would do is -- no, I
16       did not send it to his e-mail address.                I would
17       write the e-mails, put them in drafts, and then
18       I would show them to him when we met.
19                Q.     Okay.     But that is an e-mail that
20       you wrote into a draft that you showed to Ben
21       Hurt?
22                A.     Correct.
23                Q.     And the e-mail -- at least the
24       draft was made on or about that November 17 --


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                                                                        Page 137
 1                A.     How did he send it?
 2                Q.     Right.     How did he obtain those
 3       e-mails then?
 4                       MR. BRODY:       Could you have sent
 5       that?
 6                       THE WITNESS:       I could have sent
 7       that, yeah.
 8                       MR. BRODY:       Did you send it, if you
 9       remember?
10                       THE WITNESS:       I don't -- I
11       didn't -- I could have sent it.              What I
12       remember is I mostly just wrote them and didn't
13       e-mail him because that would be damning
14       evidence.      So the thing I e-mailed to him was
15       the stupid pictures, but he insisted that I do
16       that.
17       BY MS. JOHNSTON:
18                Q.     So at least on some occasions,
19       though, you did e-mail him?
20                A.     Yes.
21                Q.     Okay.     And this message, be it a
22       draft or a sent message, though, was written
23       from your e-mail address on November 17, 2016,
24       and you wrote it?


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                                                                        Page 138
 1                A.     Yes, I wrote it.
 2                Q.     Okay.     And it would have been
 3       directed to or intended for Ben Hurt to see?
 4                A.     Yes.
 5                Q.     Okay.     And I'm going to lastly,
 6       other than what we have discussed here today,
 7       do you have any reason to believe that
 8       Dr. Javed knew that you were engaged in a
 9       sexual relationship with Ben Hurt?
10                A.     I believe she suspected, but I
11       don't know that to be for sure.
12                Q.     And do you base that on anything
13       other than what -- anything more than what we
14       have discussed here today?
15                A.     Just the vibes I got from people.
16       I was in fear that people knew.
17                Q.     Again, it was not -- did Dr. Javed
18       ever tell you anything other than what we've
19       discussed here today?          Did she ever say
20       anything to you that made you think that she
21       knew or suspected you were in a sexual
22       relationship with Ben Hurt?
23                A.     No.
24                Q.     Okay.     And some general questions,


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                                                                        Page 139
 1       other than what we have discussed here today,
 2       do you have any reason to believe that
 3       Dr. Kareemi knew that you were engaged in a
 4       sexual relationship with Ben Hurt?
 5                 A.     No.   She even knew less than
 6       Dr. Javed.
 7                 Q.     And other than what we have
 8       discussed today -- here today, do you have any
 9       reason to believe that Colleen Delaney knew
10       that you were engaged in a sexual relationship
11       with Ben Hurt?
12                 A.     No, not a sexual relationship.
13                 Q.     And other than what we've discussed
14       here today, do you have any reason to believe
15       that Diana Hogan knew that you were engaged in
16       a sexual relationship with Ben Hurt?
17                 A.     No, not a sexual relationship.
18                 Q.     And other than we've discussed
19       today, do you have any reason to believe that
20       Drew Beck knew you were engaged in a sexual
21       relationship with Ben Hurt?
22                 A.     No, not for sure.
23                        MS. JOHNSTON:       And that is all that
24       I have.        I know that -- I believe that Amanda


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 1       has some questions, and then Randy and Joe.
 2                       MS. KOZAR:       Yes, I do.
 3                       Hi, Ms. Lenhardt.         My name is
 4       Amanda Kozar, and I represent defendant Drew
 5       Beck in the Hurt lawsuit.            So I just have a few
 6       additional questions that I'm going to ask you
 7       that pertains specifically to him.               It
 8       shouldn't take too long.
 9                       DIRECT EXAMINATION
10       BY MS. KOZAR:
11                Q.     So, actually, if I could just
12       direct you back to what has previously been
13       marked as Exhibit 4.          It's to your affidavit in
14       the Hurt case.
15                A.     Got it.
16                Q.     Okay.     Great.
17                       So if I could just direct you to
18       paragraph 10 of that affidavit, please.
19                A.     Okay.
20                Q.     So the first sentence of that
21       paragraph 10 reads, Drew Beck and Hasina Javed
22       indicated that my relationship with Ben Hurt
23       was overly close, correct?
24                A.     Yes.


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                                                                        Page 141
 1                Q.     Okay.     So talking about Drew Beck,
 2       specifically, how many times did he indicate to
 3       you that your relationship with Ben Hurt was
 4       overly close?
 5                A.     Once.
 6                Q.     And do you remember when that was?
 7                A.     I do not remember the time, nor the
 8       date.
 9                Q.     Okay.     Was he -- were the two of
10       you alone when he made that indication to you
11       or were others present?
12                A.     He came to my office, and we were
13       alone.
14                Q.     Okay.     Do you know why he had come
15       to your office on that particular occasion?
16                A.     He told me that administration had
17       been talking to him, and that they were
18       watching me and suspicious about my
19       relationship with Ben or suspicious about
20       something.
21                Q.     Wait.     I'm sorry.      So did he say
22       specifically that administration was suspicious
23       about your relationship with Ben, or just that
24       they were suspicious about something?


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                                                                        Page 142
 1                A.     No.     It was Ben, because Ben had
 2       made that comment.         So, yes, it was Ben.
 3                Q.     Okay.     Did he indicate why
 4       administration had been talking to him about
 5       that?
 6                A.     No.
 7                Q.     Okay.     So what specifically did
 8       he -- no.      Strike that.       Let me rephrase.
 9                       When he stated that administration
10       was suspicious of your relationship with Ben
11       Hurt, did he elaborate on that?
12                A.     No.
13                Q.     So that's the only thing he said?
14                A.     That it was, like, a warning that I
15       should be careful, and -- a warning that I
16       should be careful, and that -- and not a
17       disagreement, but I could tell he was -- I
18       could tell he was not -- disapproval.                There
19       was a sense of disapproval towards me.
20                Q.     Okay.     Did he actually say that he
21       disapproved of you in some way, or was that
22       just the feeling that you got?
23                A.     That was the feeling that I got.
24                Q.     Okay.     During that conversation,


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                                                                        Page 143
 1       did he -- did he say anything to you indicating
 2       that he was aware of a sexual relationship
 3       between you and Ben Hurt?
 4                A.     No.
 5                Q.     Did he say anything during that
 6       conversation that indicated that he had
 7       observed a romantic or otherwise inappropriate
 8       relationship between you and Ben Hurt?
 9                A.     He said to me, "I don't know what
10       it is with you and black guys."
11                Q.     Okay.     Did he say anything after he
12       made that comment?
13                A.     No, he was leaving.          And I went to
14       answer, and he said, "No," he put up his hand,
15       "I don't want to know."
16                Q.     Okay.     Okay.    All right.       So aside
17       from that incident, were there any other times
18       that Drew Beck indicated to you in some way
19       that he -- that your relationship with Ben Hurt
20       was overly close?
21                A.     Not that I can recall.
22                Q.     Okay.
23                A.     I know he saw a few times when I
24       went to the K Unit and went in Bob's office,


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 1       and that Ben and I were talking.
 2                Q.     Okay.     And so on those occasions
 3       when you went to K Unit and you Ben and were
 4       talking, did Drew Beck ever approach the two of
 5       you?
 6                A.     I don't think so, no.
 7                Q.     Okay.     So do you recall him ever
 8       telling Ben Hurt to leave you alone while you
 9       were on K Unit?
10                A.     If he did, I wasn't privy to that
11       information or conversation.
12                Q.     You don't remember that?
13                A.     No.     I wasn't there, if it was
14       said, no.
15                Q.     Okay.     Okay.    Let's see.
16                       Do you recall whether Drew Beck was
17       present at EMHC on the occasion that you and
18       Ben Hurt got locked in Bob Hamlin's office?
19                A.     I cannot completely recall.             He
20       could have been there.           If it was before
21       4:00 o'clock that I tried to leave the office,
22       and he would have been there, if he was
23       working, but I know there was a period of time
24       when he was out because he had knee surgery.


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                                                                        Page 145
 1       And I don't know if that was the time.
 2                 Q.     Okay.    As far as you can recall,
 3       what was the date range that Drew Beck served
 4       as Ben Hurt's social worker?
 5                 A.     From the time he transferred
 6       until -- I know this is -- I know that -- no,
 7       no, no.        When he transferred, he was Ben -- he
 8       was Bob's patient.
 9                        Then for some reason they
10       transferred him from Bob to Drew.               And Drew was
11       his social worker until everything came out,
12       and I was walked out of Elgin Mental Health
13       Center and put on leave of absence -- not leave
14       of absence.        I'm so sorry.      I was put on light
15       duty.     First, I was put on light duty.             Then I
16       was put on leave of absence.
17                        I know he changed social workers
18       because the records that were obtained by Steve
19       and Randy that Steve Brody has, was given to
20       me.     And I read through every one of the pieces
21       of documents, and I know that his discharge
22       summary was written by Robert Lee.
23                        So I'm going to assume that he was
24       transferred from Drew to Robert Lee.


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 1                 Q.    Okay.     And I'm sorry.        I believe
 2       you said you think that Drew Beck was his
 3       social worker until the day that you were
 4       escorted out and placed on light duty, or did I
 5       misunderstand?
 6                 A.    You misunderstood.
 7                       After I was walked out of the
 8       hospital, I didn't know anything of what was
 9       going on.      So I would assume that he continued
10       to be Drew's social worker until close to Ben's
11       discharge because Ben's discharge papers were
12       written by Robert Lee.
13                 Q.    Okay.     I understand.       Thank you.
14                 A.    But I don't know when Drew -- I
15       don't know when Drew became not his social
16       worker.
17                 Q.    Okay.     Okay.    All right.       So aside
18       from that incident that we talked about earlier
19       when Drew Beck came to your office to talk to
20       you, were there any other times that we've not
21       spoken about when Drew Beck came to you and
22       indicated that he suspected an inappropriate
23       relationship between you and Ben Hurt?
24                 A.    Not that I can recall.


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                                                                        Page 147
 1                       MS. KOZAR:       Okay.    All right.
 2       Well, those are all the questions that I have.
 3       So thank you, Ms. Lenhardt.
 4                       THE WITNESS:       You're welcome.
 5                       MS. JOHNSTON:        And, I guess, now,
 6       Randy and Joe, I don't know what you have.
 7       It's 12:30.       Depending on that, is this a time
 8       to take a slightly longer break, or --
 9                       MR. CECALA:       We have two questions.
10                       MS. JOHNSTON:        Okay.    Well, then
11       that's not necessary.          Power through.
12                       MR. CECALA:       Yeah.
13                         CROSS-EXAMINATION
14       BY MR. CECALA:
15                Q.     So, Christy, I know earlier --
16       you've testified a lot today, so I'm going to
17       try to go back to something that was -- I'll
18       try to refresh the testimony that you were
19       giving, so you can kind of remember what you
20       were saying about the consequences that
21       occurred to you once your -- it was found out
22       by everyone at Elgin and the police and
23       everything that happened to you related to the
24       incident with Ben -- or incidents with Ben, or


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 1       your relationship with Ben.
 2                       So do you recall testifying about
 3       all those consequences earlier today?
 4                A.     Yeah.     To some of them, not all of
 5       them.
 6                Q.     Well, one of the consequences is
 7       that the -- to engage in a romantic
 8       relationship or to go across the boundary of
 9       social worker-patient where you're romantically
10       involved, even emotionally involved with a
11       patient, can have serious consequences both to
12       the professional licenses that you have and in
13       the law as far as crimes.            You understand that,
14       right?
15                A.     Yeah, I didn't know at the time
16       that it was illegal, and that I would be
17       criminally prosecuted, but, yes, I know that
18       now.
19                Q.     But you certainly understood that
20       these relationships with -- any relationship
21       between a social worker and a patient that was
22       romantic, could have serious consequences, to
23       being fired, for example?
24                A.     Yes, I knew that.


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 1                Q.     Okay.     So if you had admitted to
 2       someone that you were seducing a patient, that
 3       admission would be something that you could
 4       have been fired for; isn't that true?
 5                A.     Yes.
 6                Q.     And you understood that throughout
 7       your employment at Elgin throughout all of
 8       these circumstances; isn't that true?
 9                A.     Yes.    I knew that they could
10       immediately file an OIG report, Office of
11       Inspector General, and that I would then be
12       investigated and fired.
13                Q.     Right.
14                       And there would also potentially be
15       consequences to people who suspected that or
16       knew; in other words, their employment knowing
17       about this and keeping it a secret, could put
18       them in jeopardy of their own employment
19       status, as well; isn't that true?
20                A.     Yes.    Because you're supposed to
21       report it to OIG.
22                Q.     Okay.     I just want to make sure
23       that I cleared this up for the record.
24                       So Mary and Amanda were asking you


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 1       about all these various times that someone may
 2       have talked to you or you may have suspected in
 3       the conversation that they knew something or
 4       didn't know something, and those aren't
 5       conversations where you and the other
 6       participant would have openly been saying
 7       things like, you know, I'm romantically
 8       involved with Ben, or I'm romantically involved
 9       with a patient, because the consequences were
10       so severe, that's just not something anyone
11       would say, correct?
12                A.     No.     And no one would even -- no
13       one -- like, another person would not even want
14       to ask or know about it because then they would
15       have to file an OIG report on me.               And I was
16       very well liked, and they didn't want anything
17       bad to happen to me.          That's why I think they
18       didn't do it.
19                Q.     Okay.     Good.
20                       And then just one other question.
21       Just to clarify this.
22                       You talked about the fact that Mark
23       had complained to Dr. Javed about meeting alone
24       in your office, and that it pertained to his


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 1       Muslim or Islamic beliefs of being alone with
 2       you in the office.         Do you remember talking
 3       about that?
 4                A.     Yes.
 5                Q.     Now, after that, you continued to
 6       be Mark's social worker, correct?
 7                A.     Yes.
 8                Q.     And you and Mark then met outside
 9       the office for the social work counseling
10       sessions, correct?
11                A.     Yes.
12                Q.     And when you met, you were alone
13       outside the office?          It wasn't a shared
14       conversation with the public.             You were having
15       a private counseling session with him; isn't
16       that true?
17                A.     Yes.
18                Q.     So whether you were alone in the
19       office or whether you were alone outside the
20       office, you and Mark were still alone, correct?
21                A.     Yes.
22                Q.     Okay.
23                A.     It may have been because -- it may
24       have been because the -- my office was small,


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 1       and so the -- there would be no more closeness.
 2       And in the -- in the office, in the conference
 3       room, there's a large window.             And it's in the
 4       dayroom where everybody walks by and sits in.
 5       And so he may have felt more comfortable
 6       because --
 7                Q.     It was less intimate?
 8                A.     Yes.
 9                Q.     Okay.     But suffice it to say, he
10       was meeting alone with a woman both in the
11       office and in the conference room, correct?
12                A.     Yes.    You make a point, yes.
13                Q.     Okay.     Give us one minute.
14                       Okay.     One last question, Christy.
15                A.     Yes.
16                Q.     So Dr. Javed is a woman, right?
17                A.     Yes, she is.
18                Q.     And to your knowledge, when
19       patients meet with their psychiatrist, they
20       meet alone in their office as well, don't they?
21                A.     Yes.    She would often meet alone in
22       her office with patients.
23                Q.     Okay.     And so -- and Mark Owens was
24       a patient of Dr. Javed, correct?


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 1                A.     Correct.
 2                Q.     And are you aware that he met alone
 3       with Dr. Javed in her office as a patient
 4       psychiatrist?
 5                A.     Yes.
 6                       MR. CECALA:       Okay.     That's all we
 7       have, Amanda and Mary, Sarah, Rory, Steve.
 8                       THE WITNESS:       And Sean.
 9                       MR. CECALA:       And Sean.      Sorry.
10                       MS. JOHNSTON:          Steve, did you have
11       anything you wanted to ask?
12                       MR. BRODY:       Who me?
13                       MS. JOHNSTON:          Yeah.
14                       MR. BRODY:       No.
15                       MS. JOHNSTON:          I figured as much,
16       but, obviously, wanted to give you the
17       opportunity.
18                       MR. BRODY:       Well, as usual, I got
19       nothing.
20                       MS. JOHNSTON:          And I have nothing
21       further.
22                       MR. BRODY:       Then that concludes us
23       for today, doesn't it?
24                       MR. CECALA:       Great.


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                                                                        Page 154
 1                       Are we going off the record?
 2                       MS. JOHNSTON:        Yeah, we can go off
 3       the record now.
 4                       MR. CECALA:       Oh, what about
 5       signature?
 6                       MR. BRODY:       We'll reserve.
 7                       MR. CECALA:       Okay.     Great.
 8                       And, Gay, we'd like a transcript
 9       sent to us like last time.
10                       THE STENOGRAPHER:         Okay.
11                       MS. JOHNSTON:        And I'll be ordering
12       as well.     And I'll send you the exhibits right
13       now and copy Lisa.
14                       THE STENOGRAPHER:         Thank you.
15                               (The proceedings in the above
16                                 matter concluded at 12:40
17                                 p.m.)
18              (AND FURTHER DEPONENT SAITH NOT.)
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                                                                        Page 155
 1            IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ILLINOIS
 2                     EASTERN DIVISION
 3
 4     MARK OWENS,                             )
                                               )
 5                      Plaintiff,             )
                                               )
 6     vs.                                     ) No. 18-cv-334
                                               )
 7     HASINA JAVED,                           )
                                               )
 8                      Defendant.             )
 9
            I hereby certify that I have read the
10     foregoing transcript of my deposition given at
       the time and place aforesaid, consisting of pages
11     1 through 154, inclusive, and I do again
       subscribe and make oath that the same is a true,
12     correct and complete transcript of my deposition
       given as aforesaid, with corrections, if any,
13     appearing on the attached correction sheet(s).
14
15
16                _______ correction sheet(s) attached.
17
18
                        ____________________________________
19                               CHRISTY LENHARDT
20
21
       Subscribed and sworn to
22     before me this____day of
       __________, A.D.   2022.
23
       ________________________
24       Notary Public

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                                                                        Page 156
 1
 2                    REPORTER'S CERTIFICATE
 3
 4                           The foregoing deposition of
 5     CHRISTY LENHARDT, was taken before GAY DALL, CSR,
 6     RPR, via videoconference, commencing at 9:15 p.m.
 7     on February 1, 2022.
 8                           That previous to the
 9     commencement of the examination of the witness,
10     the witness was duly sworn to testify to the
11     whole truth concerning the matters herein;
12                           That the foregoing deposition
13     transcript was reported stenographically by me,
14     was thereafter reduced to typewriting under my
15     personal direction, and constitutes a true record
16     of the testimony given and the proceedings had;
17                           That the said deposition was
18     taken before me at the time and place specified;
19                           That the reading and signing by
20     the witness of the deposition transcript was
21     agreed upon as stated herein;
22                           That I am not a relative or
23     employee of attorney or counsel, nor a relative
24     or employee of any such attorney or counsel for


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                                                                        Page 157
 1     any of the parties hereto, nor interested
 2     directly in the outcome of this action.
 3
 4
 5              Dated this 15th day of February, 2022.
 6
 7
 8
 9                                         Gay Dall, CSR, RPR
10                                         CSR NO. 084-001169
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